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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                         CASE NO. 8:21-cv-00555-SDM-CPT
        __________________________________
                                           )
        DALANEA TAYLOR, TAMMY HEILMAN,     )
        DARLENE DEEGAN, and ROBERT A.      )
        JONES, III,                        )
                                           )
                       Plaintiffs,         )        DEPOSITION OF
                                           )
             vs.                           )  DR. RICHARD M. HOUGH, SR.
                                           )
        CHRIS NOCCO, in his official       )
        capacity as Pasco County Sheriff, )
                                           )
                       Defendant.          )
        __________________________________)

                     On Monday, April 18, 2022, commencing at 9:14 a.m., the

        deposition of Dr. Richard M. Hough, Sr., was taken via Zoom on

        behalf of the Plaintiffs and was attended by Counsel as follows:

        APPEARANCES VIA ZOOM:

                     JOSHUA A. HOUSE, ESQ.
                     Institute for Justice
                     901 North Glebe Road, Suite 900
                     Arlington, Virginia 22203
                     on behalf of the Plaintiffs

                     ROBERT E. JOHNSON, ESQ.
                     Institute for Justice
                     16781 Chagrin Boulevard, Suite 256
                     Shaker Heights, Ohio 44120
                     on behalf of the Plaintiffs

                     THOMAS W. POULTON, ESQ.
                     Debevoise & Poulton, PA
                     1035 South Semoran Boulevard, Suite 1010
                     Winter Park, Florida 32792
                     on behalf of the Defendants



        ATTENDING:        David Kennedy

        REPORTED BY:      Mai-Beth Ketch, CVR-M, CCR
                          ASHEVILLE REPORTING SERVICE
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                                                                             2

         1      (Document CB1138)

         2                                INDEX

         3      Signature (Reserved). . . . . . . . . . . . . .          3

         4      Direct Examination By Mr. House . . . . . . . .          4

         5      Certificate of Notary Public      . . . . . . . .      161

         6      EXHIBITS:

         7      Plaintiff's Exhibit A Introduced       . . . . . . .     7

         8            (Report by Dr. Hough)

         9      Plaintiff's Exhibit B Introduced       . . . . . . . 45

        10            (Article by Dr. Hough - June, 2021 -

        11            Administrative Evil)

        12      Plaintiff's Exhibit C Introduced       . . . . . . . 49

        13            (Article Co-Authored by Dr. Hough)

        14      Plaintiff's Exhibit D Introduced       . . . . . . . 57

        15            (Textbook Excerpt - American Homicide)

        16      Plaintiff's Exhibit E Introduced       . . . . . . . 76

        17            (Textbook Excerpt - Criminal Investigations

        18            Today)

        19      Plaintiff's Exhibits A - E Marked . . . . . .          160

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                                                                            3

         1            PURSUANT TO NOTICE and/or Agreement to Take

         2      Depositions, the within Deposition was taken by me,

         3      MAI-BETH KETCH, CVR-M, CCR, a Notary Public as

         4      required in Rules 26 and 30 of the North Carolina

         5      Rules of Civil Procedure.

         6      SIGNATURE:

         7            The Deponent did agree that both the reading

         8      over and signing of the transcript are hereby

         9      reserved.

        10      BY THE COURT REPORTER:

        11            The attorneys participating in this proceeding

        12            acknowledge that I am not physically present

        13            in the proceeding room and that I will be

        14            reporting this proceeding remotely.       They

        15            further acknowledge that in lieu of an oath

        16            administered in person the witness will

        17            verbally declare his or her testimony in this

        18            matter under penalty of perjury.       The parties

        19            and their counsel consent to this arrangement

        20            and waive any objections to this manner of

        21            reporting please indicate your agreement by

        22            stating your name and your agreement on the

        23            record.

        24      BY MR. HOUSE:

        25            Joshua House, and I agree to the agreement.



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         1      BY MR. POULTON:

         2             Tom Poulton on behalf of the Defendant.       We

         3             agree.

         4      BY MR. JOHNSON:

         5             This is Rob Johnson for the Plaintiffs, also

         6             agree.

         7      BY THE COURT REPORTER:

         8             And, Dr. Hough, do you agree?

         9      BY THE DEPONENT:

        10             Yes, I agree.    This is Richard Hough, yeah.

        11      DIRECT EXAMINATION BY MR. HOUSE:

        12      Q      So let's jump right into it.     So Mr. -- or

        13             Professor Hough, my name is Joshua House.          I

        14             represent the Plaintiffs in the lawsuit Taylor

        15             versus Nocco.    You understand that when I say

        16             this lawsuit or this case I will be referring

        17             to Taylor versus Nocco?

        18      A      Yes, sir.

        19      Q      Great, thanks.    I'm just going to go over some

        20             basic ground rules.    I know you've done some

        21             depositions before so you're probably used to

        22             this but I just want to get it all -- get it

        23             all on the record.    I'm going to be asking

        24             questions.   You're going to be answering them.

        25             And we ask that you do so verbally in order



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         1             for the court reporter to get it on the

         2             record.     Do you understand that?

         3      A      I do.

         4      Q      Also, I'd ask that you not speak over me.

         5             I'll try not to speak over you.       This can

         6             sometimes be an issue with Zoom, so I

         7             apologize if it happens.     But do you -- do you

         8             understand that you should endeavor not to

         9             speak over me, as I will do you?

        10      A      Yes, sir.

        11      Q      If you need a break just let me know.       I'm

        12             just going to ask that you finish answer any

        13             question that's pending before we take a

        14             break.    Does that make sense?

        15      A      Yes, sir.

        16      Q      Great.    Now, there hasn't been a swearing in,

        17             as we're all aware.     But do you understand

        18             that you're under an obligation today to give

        19             testimony that is true as if you were

        20             testifying in a court of law?

        21      A      Yes, I do.

        22      Q      My friend, Mr. Poulton, might occasionally

        23             object, but do you -- do you understand that

        24             unless instructed not to answer by him that

        25             you still have an obligation to answer the



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         1             question?

         2      A      Yes, sir.

         3      Q      Is there anything that might prevent you from

         4             giving full or accurate answers today?

         5      A      No, there is not.

         6      Q      Are you on any medication that might prevent

         7             you from giving a truthful answer today?

         8      A      I am not.

         9      Q      Do you have any illness that might prevent you

        10             from giving a truthful answer today?

        11      A      No.

        12      Q      Do you have your expert report in this case in

        13             front of you today?

        14      A      I do somewhere here.    Yes, I do have it.

        15      BY MR. HOUSE:

        16             I'm going to introduce it as our first exhibit

        17             right now and I'm going to screen share,

        18             although it might be easier I think at times

        19             just to have you look at the page number I'm

        20             referring to rather than screen sharing every

        21             time I refer to a different page.      But, you

        22             know, Tom, let me know if you'd rather me

        23             screen share everything.

        24      BY MR. POULTON:

        25             Whatever makes sense for you and the witness.



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         1      BY MR. HOUSE:

         2             So I'm just going to -- I'll screen share it

         3             now but I just thought I'd mention that.

         4      BY THE DEPONENT:

         5             Yes, we have probably all noticed that with

         6             some of the screen sharing it can be very tiny

         7             even when we try to blow it up.

         8      BY MR. HOUSE:

         9             Exactly.

        10      (PLAINTIFF'S EXHIBIT A INTRODUCED)

        11      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        12      Q      So can you see my screen?

        13      A      Yes, sir.

        14      Q      And on my screen do you see -- do you

        15             recognize the document that is on my screen?

        16      A      Yes, sir.     That is my report.

        17      Q      Great.     And just real quick.    Do you have --

        18             is there anything else with you today that you

        19             plan to refer to?

        20      A      There is not.     I will just say that I am

        21             looking at your screen share which shows 71

        22             pages.     The report I have shows 66.    I don't

        23             know if that's just a formatting issue or

        24             there's some -- something additional.

        25      BY MR. POULTON:



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         1             You see there at the end you have the --

         2             right.

         3      BY MR. HOUSE:

         4             Yeah.    It might be that it has the beginning.

         5             The original cover material, yeah.

         6      BY MR. POULTON:

         7             Very good.

         8      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         9      Q      So what you do see on my screen though is your

        10             expert report; correct?

        11      A      Yes, sir.

        12      Q      Great.    And did you write this report?

        13      A      Yes, sir.

        14      Q      If you could turn to Appendix D.

        15      A      I'll note even including the typos are mine.

        16             Yes, sir.    I'm at D.

        17      Q      So I see from Appendix D in your report that

        18             you've been deposed before; is that correct?

        19      A      Yes, sir.    I have.

        20      Q      In Appendix D where it says the term

        21             deposition does that mean you were deposed?

        22      A      Yes, sir.

        23      Q      And then where it says hearing next to each

        24             line, does that mean you gave live testimony

        25             in a courtroom?



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         1      A      Either -- I know there was I think at least

         2             one that was done as we are doing today, a

         3             hearing in South Florida recently by Zoom, but

         4             otherwise for a hearing or where they say

         5             trial it will have been live testimony.

         6      Q      Is it fair -- is it fair to say that hearing

         7             took place -- if it's marked a hearing that it

         8             took place in front of a judge?

         9      A      Yes, sir.

        10      Q      Where it says defendant on each of these

        11             items, does that mean that for that item you

        12             were retained by the defendant in that case?

        13      A      Yes, sir.   That's correct.

        14      Q      Is it accurate to say that in the past four

        15             years you've only ever provided testimony on

        16             the side of a municipal government?

        17      A      No.   There have been -- and the distinction I

        18             think partly would be county sheriff's

        19             offices, some I think that were -- and, you

        20             know, to different risk funds.      So if a firm

        21             such as yours or Mr. Poulton's firm were to

        22             reach out to me it -- it would vary.      But I

        23             think if, yeah, we went through those that the

        24             majority -- I'm just trying to remember if

        25             there were any private entities.      There was a



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         1             retention or two by a plaintiff, and semantics

         2             not withstanding there were some actions

         3             where, for instance, any agency terminated an

         4             employee and the employee sued.      So the agency

         5             becomes, you know, technically the defendant

         6             even though it was an action against the

         7             criminal justice actor.     But largely, yes, I

         8             think that's fair.    I don't -- I don't do any

         9             paid advertisement, so there's not that many

        10             here.   It's just word of mouth.     Like I said,

        11             you call me up.

        12      Q      Sure, sure.   So let's assume that county

        13             sheriff's departments are a municipal

        14             government just for the sake of my question.

        15             So assuming that, in which case have you not

        16             provided -- in which of the cases listed have

        17             you not provided testimony on a -- excuse me.

        18             In which of the cases listed have you not

        19             provided testimony for a municipal government?

        20      A      I think that would mean that each one of these

        21             would be for, a you say, a municipal

        22             government.

        23      Q      Have you provided testimony in any other cases

        24             in the past four years besides those listed

        25             here?



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         1      A      Let me scroll to see from the report.       I

         2             believe there were two depositions since the

         3             completion of this report and both of those

         4             would -- would fit the same category of -- for

         5             a municipal government entity and/or

         6             employees.

         7      Q      So and then are those two the only ones that

         8             are on this list?

         9      A      Those should be the only two that are not on

        10             this list.

        11      Q      Have you ever provided testimony in a lawsuit

        12             about intelligence-led policing as you

        13             understand that term right now?

        14      A      Not specifically.    There are various cases

        15             that deal with the criminal investigative

        16             functions of different agencies and entities.

        17             And so written broadly, depending on as we

        18             know the differing definitions that agencies

        19             have, it may incorporate that.      But as to

        20             specifically as we have in this case, no.

        21      Q      To your knowledge have you ever provided

        22             testimony in which you use the term focused

        23             deterrence as you -- let me ask the question

        24             again.   Have you ever provided testimony in

        25             which you use the term focused deterrence?



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         1      A      I don't recall sitting here today whether I

         2             have used that -- that at any point in a case

         3             over the years.

         4      Q      Have you ever been involved in a lawsuit where

         5             you did not provide testimony?

         6      A      Oh, yes.

         7      Q      About -- well, let me ask, about how many?

         8      A      I'm not sure.     That would be maintained

         9             separately since Rule 26 doesn't require

        10             listing those in a report.

        11      Q      Sure.

        12      A      But it -- it would be certainly more -- I

        13             would say, easily 100 percent more.       So I

        14             don't know many are listed here.      If there's

        15             20 here there would be at least 40 in cases as

        16             you know that don't end up with either

        17             deposition or trial.

        18      Q      And what was your role in those?      You can

        19             group them together if need be because I

        20             understand that there's a lot of them.       But

        21             what role did you play in those?

        22      A      Expert witness services typically to evaluate

        23             and render a report.

        24      Q      So have you ever been involved in a lawsuit

        25             where you were not providing expert witness



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         1             services or the other thing that you mentioned

         2             just there?

         3      A      I've done briefings on lethal force cases for

         4             a lot of the State Attorney districts in

         5             Florida, so that would surely be -- and that

         6             actually may be listed in here.      I'm not sure.

         7             I've done Grand Jury testimony.      But

         8             predominantly nothing else is coming to mind

         9             right now that wouldn't fit into the Rule 26

        10             here.

        11      Q      Have you ever been sued?

        12      A      I have not.   Well, I may have been once as

        13             director of corrections.     I think right after

        14             the state of Florida made buildings -- public

        15             buildings no tobacco use, I think the sheriff

        16             -- I was director of corrections.       I think the

        17             sheriff and I may have been sued for cruel and

        18             unusual punishment because we didn't let this

        19             particular inmate smoke, even though it was

        20             against the law.    So I can't remember but I

        21             think the agency's attorney had to reply to

        22             that, but (pause) ---

        23      Q      Were you sued in that case in your official

        24             capacity?

        25      A      Yeah.   It would definitely be official



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         1             capacity.     Again, the -- the clear point here

         2             is someone arrested smokes and wanted to smoke

         3             and sued even though it was illegal to use

         4             tobacco in public buildings.      I don't know

         5             what happened with the case, but in full

         6             fairness I think I may have been named in that

         7             25 or so years ago.     I'm not sure.

         8      Q      Have you ever been involved in a lawsuit

         9             involving Pasco County?

        10      A      I am not certain.     I don't recall any as I sit

        11             here today.     I may have but I just don't

        12             recall.

        13      Q      Why do you say you may have?

        14      A      I've been doing expert witness work for more

        15             than 30 years, most of in Florida, so I just

        16             don't know.

        17      Q      Before this lawsuit have you been retained by

        18             Pasco County for any reason?

        19      A      As I said -- as a matter of fact, we can

        20             search this one document that we both have up

        21             here.     But again, as I sit here I don't recall

        22             one.    But I only see ---

        23      Q      Well, I mean, this document is limited to I

        24             think your expert services if I'm not mistaken

        25             and my question was -- was broader.       Just any



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         1             -- any reason.

         2      A      Oh, no.     If it wasn't for evaluation of a

         3             case, no, I've never had any work or done

         4             anything with them.

         5      Q      And when you say case you mean a lawsuit?

         6      A      Yes.

         7      Q      What is your going hourly rate in cases in

         8             which you testify?

         9      A      For -- and I'll probably have to refer to

        10             this.     For research and work that doesn't

        11             involve testimony it's $250 per hour.       For

        12             work -- I think it's -- I don't want to missay

        13             this or do a memory test so we'll just --

        14             we'll look at see what I have listed here.

        15      Q      Is it the same as the going rates that is

        16             listed in Appendix -- in the Appendix ---

        17      A      B.

        18      Q      --- B?

        19      A      Yes, sir.

        20      Q      That makes it easy.     We can just refer to

        21             that.

        22      A      Yes, sir.

        23      Q      What would you say on average you make per

        24             case in total?     So let me rephrase that.       What

        25             would you say is the total amount that you



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         1             bring in for each case that you work on?

         2      A      We can -- I don't generally do math, and I

         3             certainly don't do it on the stand, but we

         4             could probably guesstimate.      As you see from

         5             Appendix B the two-part retainer totals

         6             $5,000, and that goes for 20 hours of work

         7             produce in a case.    If a case -- the work goes

         8             beyond that then the hourly rate would be

         9             applied.    I would say that over the past, I'd

        10             say, three, five years or so it has probably

        11             just for the most part been on average the

        12             retainer amount, which until just a couple of

        13             years ago it was I think $4,500.      So now that

        14             would be probably in the last two years

        15             approximating the 5,000.

        16      Q      How did you prepare for this deposition?

        17      A      Predominantly just review of my report in the

        18             matter.

        19      Q      Did you prepare for this deposition with

        20             anyone?    And I want to be clear insofar as it

        21             involved counsel you don't -- do not tell me

        22             about the content of your conversations with

        23             counsel.    I just want to know did you prepare

        24             with anybody else for this -- for this

        25             deposition?



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         1      A      No, I did not.

         2      Q      Have you made any public statements concerning

         3             this lawsuit?

         4      A      I have not.

         5      Q      Have you spoken to anyone besides counsel in

         6             this case about this lawsuit?

         7      A      No, I have not.

         8      Q      Have you read any of the legal filings in this

         9             case?

        10      A      I believe I read the initial -- I don't know

        11             whether it's second amended complaint or if

        12             there was one, but the -- whatever is listed

        13             in the appendix.    But I did, I think, read the

        14             complaint.

        15      Q      Do you disagree with any of the factual

        16             allegations in that complaint?

        17      A      Working from a complaint document which I

        18             understand is produced by attorneys who have

        19             an advocacy role versus mine as a social

        20             scientist I don't initially agree or disagree

        21             with statements that are in those because I

        22             don't necessarily take those as factual or the

        23             basis for the scope of my work.

        24      Q      What is your current job?

        25      A      I'm a professor at practice at East Tennessee



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         1             State University of Criminal Justice and

         2             Criminology.

         3      Q      How long have you done that?

         4      A      At East Tennessee State since January of this

         5             year.

         6      Q      And what were you -- January of 2022?       I'm

         7             sorry.   Is that correct?

         8      A      Yes, that's correct.

         9      Q      And what did you do before that?

        10      A      I was an instructor at the University of West

        11             Florida in Pensacola.

        12      Q      So returning to your current position, what --

        13             what do you do on a daily basis in your

        14             current position?

        15      A      The -- what would -- we understand in academia

        16             is sort of the standard of research, teaching

        17             and service.

        18      Q      Is that a tenure track position?

        19      A      It is not.

        20      Q      I think -- let's turn to, just for reference

        21             because we're on this topic, Appendix C of

        22             your report.   That's page 41.

        23      A      All right, sir.     Got it.

        24      Q      Yeah, I forgot to have us turn there earlier.

        25             And then is it fair to say that your previous



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         1             position at the University of West Florida

         2             involved the same daily tasks as your current

         3             position?

         4      A      Within two different departments, but yes.

         5      Q      Are there any significant differences between

         6             your work in the two positions?

         7      A      Not in the general functions, no.

         8      Q      So I see that the positions we talked about

         9             are discussed here on page 41 of your academic

        10             appointments.    And then you also have some, I

        11             believe, professional experience on page 44.

        12             Just as a general matter, is Appendix C a

        13             complete statement of your employment history?

        14      A      Predominantly it is.     Of course, having been

        15             on earth for a while I would not claim that

        16             each of those contained a full accounting of

        17             the things that I was involved in or worked on

        18             in each of those, but in terms of general

        19             timeline, yes.

        20      Q      So are there any -- I guess let me ask are

        21             there any jobs where you earned an income that

        22             are missing from the list?

        23      A      I'm sure prior to when I entered policing in

        24             1979, yes.

        25      Q      Well, let's -- so let's turn to that.       So in



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         1             1979 you're -- on page 46, it says Bradenton

         2             Beach Police Department.     Were you a law

         3             enforcement officer at that time?

         4      A      Yes.

         5      Q      And I assume for the Bradenton Beach Police

         6             Department; is that correct?

         7      A      Yes, sir.

         8      Q      Were those agencies ever sued during your time

         9             as an officer there?

        10      A      Not that I'm aware of, no.

        11      Q      Were you ever subject to discipline during

        12             your tenure as an officer?

        13      A      I think one time I was and that was when I was

        14             at the Manatee County Sheriff's Office, and

        15             that would -- that's a little bit further back

        16             up, but (pause) ---

        17      Q      And what did -- what were the circumstances of

        18             that discipline?

        19      A      We had a detective who had tried to arrest

        20             somebody on a warrant who was at a pawn shop

        21             and the fellow beat her up and left her by her

        22             car and he took off, and I managed to be the

        23             one to locate where this individual was

        24             getting onto -- it's Interstate 75 which runs

        25             down through much of Florida, and got into a



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         1             low speed pursuit of 25 miles per hour into

         2             the next county, Sarasota County, very anti-

         3             dramatic as people kept passing us on the

         4             interstate, and then handed off the vehicle to

         5             several Sarasota sheriff's office squad cars

         6             who finished the pursuant and I returned.          And

         7             I received a letter of counseling for leaving

         8             the jurisdiction.

         9      Q      Besides that instance are there any other

        10             instances of discipline during your tenure as

        11             a police officer in any of the offices you've

        12             worked with?

        13      A      Nothing that I can recall, no.

        14      Q      Have you ever been demoted during your time as

        15             an officer?

        16      A      No.

        17      Q      So going back to the 1979 position in

        18             Bradenton, what did you do before that

        19             position?

        20      A      Prior to that, again, that's a bit of a memory

        21             test.   Immediately prior I worked at JC Penny

        22             as the sporting goods manager person, and that

        23             would have been in Bradenton, Florida.       Not

        24             Bradenton Beach, but Bradenton.      Prior to

        25             that, I'm sure the court will be fascinated, I



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         1             was a manager at McDonald's.      Prior to that I

         2             was in the United States Air Force.       Prior to

         3             that, high school.

         4      Q      Could you turn to page two of your report,

         5             please.

         6      A      Two?

         7      Q      Yeah, way at the top.

         8      A      Yeah, here we go.    I'm there.

         9      Q      And I have it on the screen obviously as well.

        10             And so I want to go to where it says

        11             Qualifications, and it says, " I began my

        12             career as a law enforcement officer in 1979 in

        13             the State of Florida.     I have been

        14             continuously training law enforcement and

        15             corrections officers in various topics since

        16             1980."    And so I just want to understand this.

        17             So you've been training law enforcement

        18             officers since the year 1980; is that correct?

        19      A      That is correct.

        20      Q      And at that time you only had one year of law

        21             enforcement experience?

        22      A      That is correct.

        23      Q      Page two also mentions that you specifically

        24             trained two Florida Sheriff's Offices; is that

        25             right?



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         1      A      Well, I worked in two Florida Sheriff's

         2             Offices.     Training in each of them would have

         3             been a component of that.     I was in charge of

         4             training the Manatee County Sheriff's Office

         5             and conducted training as well at the Santa

         6             Rosa County Sheriff's Office.

         7      Q      And I just want to go down to midway through

         8             the paragraph.     It says, "I specifically

         9             conducted training as a criminal

        10             investigations instructor for two Florida

        11             Sheriff's Offices"; is that correct?

        12      A      That is correct.

        13      Q      And those are the two offices that you just

        14             mentioned?

        15      A      That is correct.

        16      Q      What did each of those training include?        Feel

        17             free to start with one or the other, or if

        18             they're the same you can just tell me what

        19             they both included.

        20      A      Chronologically the Manatee County Sheriff's

        21             Office would be first and was probably more

        22             expansive.     I began teaching in the regional

        23             academy in the area, which was not part of the

        24             Sheriff's Office, in either 1983 or 1984.        The

        25             agency -- we ended up beginning both the



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         1            corrections -- full-time corrections academy,

         2            full-time law enforcement academy.        But prior

         3            to that I conducted in-service training to

         4            include investigative training.       I had been

         5            selected -- I think Governor Graham at the

         6            time, his words, not mine, called it the Super

         7            Cop Program.     About 250 investigators from

         8            around the state of Florida were selected to

         9            be trained by the Florida Department of Law

        10            Enforcement as trainers of trainers for

        11            investigators.     And I think that was 1996 or

        12            7, somewhere along in there.       Again, memory

        13            test notwithstanding.      And so part of what I

        14            did was in the academy, as well as in-service

        15            -- I had already come out of detectives.         At

        16            that point I think I was a patrol sergeant,

        17            and conducted training and investigative

        18            methods for personnel.      That continued as an

        19            academy instructor, including when we began

        20            our own academy at the Manatee County

        21            Sheriff's Office.     And then subsequently --

        22            well, before leaving down there -- so I see

        23            also the year 1989 popped out to remind me.

        24            That's when I began teaching college courses

        25            as an adjunct instructor.      The first one and



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         1             ever since was criminal investigations.

         2             That's one of the primary courses that I

         3             teach.

         4      Q      Just to be clear, just to get centered on our

         5             question, that was not with those offices;

         6             correct?   That's a separate position?

         7      A      That wasn't; right, yeah.     And so ---

         8      Q      And so on page two ---

         9      A      Yeah.

        10      Q      --- you know, the trainings that I'm referring

        11             to on just the Florida office ones, to your

        12             knowledge do those trainings that you

        13             conducted ever include the use of an algorithm

        14             to track certain past offenders?

        15      A      In that period of time and subsequently the

        16             kind of algorithm approach to prior offenders

        17             is what we referred to as repeat offenders.

        18             So yes, discussion of the manner in which that

        19             was done way back then.

        20      Q      Did those trainings, to your knowledge, ever

        21             include the use of home visits to check on

        22             those repeat offenders?

        23      A      That was one of the methods that both

        24             prosecutors' offices through some of their

        25             auspicious with grant monies, and some law



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         1             enforcement agencies of size would do.

         2      Q      Which agencies?

         3      A      Well, Mr. House, there's 18,000 separate

         4             agencies in the U.S., which is why no one's in

         5             a position to state what they can or cannot do

         6             that doesn't violate law.     So as to which of

         7             those, given the fact that 85, 88 percent of

         8             them have fewer than 30 or so personnel total,

         9             generally it would not be those agencies.        It

        10             would be larger ones in the ongoing attempts

        11             to try to figure out what to do with crime

        12             prevention.

        13      Q      So and I understood your answer to be that --

        14             you know, when I asked you -- just to be

        15             clear, I asked you if those trainings that you

        16             conducted ever included the use of the home

        17             visits to check on past offenders and you said

        18             some agencies.    And so I'm trying to figure

        19             out which agencies that you trained did it

        20             involve those -- those home visits.

        21      A      Neither of the two agencies where I worked and

        22             did in-service training and investigations and

        23             patrol procedures, neither of those at the

        24             time that I recall did that, but I'm not --

        25             again, that's memory, because we did a fairly



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         1             in-depth community oriented policing project,

         2             for instance, in 1987, '88 at the Manatee

         3             Sheriff's Office, and I just can't remember if

         4             that also included home visits with some of

         5             the more high capacity offenders.       I don't

         6             remember.    We did a lot with analysis of what

         7             we were dealing with in our jurisdiction.         The

         8             way all agencies must.

         9      Q      Did those trainings ever include the use of

        10             traffic stops to check on repeat offenders?

        11      A      I don't recall back then because you -- you

        12             know, the idea of determining in traffic who

        13             -- who somebody was to stop them would

        14             probably have to wait until the achievement of

        15             the automated license plate reader systems

        16             many years later.

        17      Q      Did the training ever include the threat of

        18             code enforcement violations to coerce

        19             compliance with a sheriff's office

        20             interrogation?

        21      BY MR. POULTON:

        22             Objection to the form.     Go ahead.

        23      BY THE DEPONENT:

        24             I'm sorry.    You missed ---

        25      BY MR. HOUSE:



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         1             I can repeat the question, yeah.

         2      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         3      Q      So did those trainings that you conducted ever

         4             include using the threat of code compliance or

         5             -- excuse me.    I'll repeat the question.      Did

         6             the training ever include the use of the

         7             threat of code enforcement to coerce

         8             compliance with a sheriff's office

         9             interrogation?

        10      BY MR. POULTON:

        11             Object to the form.    Go ahead.

        12      BY THE DEPONENT:

        13             Code enforcement as a component of community

        14             oriented policing has been a foundational --

        15             one of the techniques since the 1980s.       Your

        16             additional part there about to coerce an

        17             interrogation I'm not aware of that nor the

        18             idea sort of coercing interrogations.       So no

        19             would be your answer for that.

        20      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        21      Q      Page two also mentions that you have been

        22             teaching de-escalation and communications

        23             techniques for nearly your entire career; is

        24             that correct?

        25      A      That is correct.



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         1      Q      What are de-escalation techniques?

         2      A      Well, sometimes it's all wine in new bottles.

         3             In the Florida curriculum this began as

         4             interpersonal communications which was the

         5             first in-service topic I taught either in 19

         6             -- I think 1984, somewhere along in there, and

         7             is woven throughout the entirety of the

         8             curriculum certainly in Florida's academies,

         9             which is a state-wide set curriculum that all

        10             agencies -- all academies have to utilize.

        11             And eventually this morphs into what we hear

        12             more commonly today as de-escalation.       The

        13             Police Executive Research Forum uses -- I

        14             forget the exact -- I have it in there

        15             somewhere.   Yeah, the Integrated

        16             Communications, Assessment and Tactics which

        17             is largely for armed people.      But most of this

        18             deals with the fact -- the bread and butter of

        19             police officers, how do you interact with

        20             folks, hopefully absent what you, the

        21             individual -- kind of what's in your mind,

        22             what's going on with you, but trying to focus

        23             at least on the officer to communicate in ways

        24             that may, if possible, calm the situation

        25             sometimes or at least be clear so that you can



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         1             give and exchange information.

         2      Q      And are there any other de-escalation

         3             techniques besides those?

         4      A      Well, a I said, that's -- it really is bread

         5             and butter, part and parcel of what officers

         6             do throughout their shift, how they interact

         7             with individuals, and that is situational.

         8             And I was perhaps too obtuse in saying like

         9             you, you're the person.     I'm interacting with

        10             you, or you with me, and Deputy House is

        11             trying to speak with me and I'm not wanting to

        12             speak to you.   And so perhaps my behavior, my

        13             attitude, my reactions, my responses to you

        14             are challenging your ability to either give or

        15             receive information.     So the various things

        16             that in your experience as either a one year

        17             officer, a 10 year officer, what your

        18             training's been, what your time on earth has

        19             been will either equip you or not to be

        20             successful there.    So the training, as I was

        21             saying earlier, is woven throughout academy

        22             training which is focused on communications.

        23             Focused on, you know, sender and receiver

        24             models.   What's your medium.     How are you --

        25             what way am I sending you a memo, an email,



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         1             talking to you on the phone, talking to you in

         2             a cellblock, talking to you on the street to

         3             try to neatly encapsulate de-escalation in

         4             some pithy acronym or simple principal really

         5             isn't possible.

         6      Q      And then it says communications techniques.

         7             Do those differ in any way from the techniques

         8             -- the de-escalation techniques that you've

         9             been referring to?

        10      A      Again, part of a -- just a large broad human

        11             experiment since you first start babbling out

        12             of the crib and working your way through.        I

        13             mean, communication techniques is intended as

        14             my rambling, I guess, response didn't make

        15             clear a minute ago that communication is

        16             impacted by a variety of different things.

        17             And so the emphasis in the academy and in-

        18             service training for officers is trying to

        19             continually keep personnel aware of the

        20             challenges and communications.

        21      Q      Page two also says you are a former Verbal

        22             Judo instructor; is that right?

        23      A      That's correct.

        24      Q      What is Verbal Judo?

        25      A      Verbal Judo caught on in the 1980s through



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         1             much of the 1990s.    A lot of agencies still

         2             use it even after the passing of the creator

         3             of the program, and the -- the idea, hence the

         4             Verbal Judo name of this particular way of

         5             envisioning communication is to focus kind of

         6             with a laser effect on what it is that you're

         7             trying to either seek from somebody or tell

         8             somebody and allow any difficult

         9             communications, angry speech, hostile speech

        10             from the individual you're dealing with to

        11             kind of roll on past you as you remain focused

        12             on what you're trying to do.

        13      Q      Let's go to page three says that you have

        14             taught the training block on Intelligence-Led

        15             Policing in the Florida Law Enforcement Basic

        16             Recruit Training Academy; is that correct?

        17      A      That's correct.

        18      Q      What is -- how do you define Intelligence-Led

        19             Policing?

        20      A      Well, of course, in the -- initially we can

        21             say that's irrelevant.     The -- each agency,

        22             those 18,000 separate agencies ---

        23      Q      What is it -- I'm sorry.     What is it

        24             irrelevant to?

        25      A      Oh, see.    You already violated the don't cut



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         1             me off.

         2      Q      I didn't say that.     I said I won't speak over

         3             you.

         4      A      It's irrelevant in my particular definition

         5             because 18,000 separate agencies get to define

         6             it any way they want to.     So how I define it

         7             is not relevant.     How the Pasco Sheriff's

         8             Office defines it would be -- and within the

         9             academy curriculum, generally speaking, it's

        10             leveraging, technology and data gathering,

        11             social networking, to try to produce and

        12             provide information and intelligence officers

        13             and agencies to help guide them.      The

        14             intelligence-led policing component is within

        15             the community oriented policing, problem

        16             oriented policing section of Florida's law

        17             enforcement academy curriculum.

        18      Q      Is it your understanding that the Pasco County

        19             Sheriff's Department defines intelligence-led

        20             policing differently than the -- than your

        21             definition?

        22      A      Again, I didn't offer a definition.

        23      Q      So let's go back.     What is your definition of

        24             intelligence-led policing?     I would like that.

        25      A      Well, I appreciate that.     And so among the



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         1             800,000 officers you might ask, or the extra

         2             million or so like me who aren't officers

         3             anymore or the ones who are police practices

         4             people or who teach policing you may get

         5             something similar to what I just sort of

         6             paraphrased from the Florida Law Enforcement

         7             Academy curriculum which I'll -- I'll just try

         8             to paraphrase again.     Utilizing technology,

         9             data, information to assist in guiding the

        10             limited resources that the agencies have.

        11      Q      And then so is it your understanding that the

        12             Pasco Sheriff's Department uses the term

        13             intelligence-led policing in any way different

        14             from what you just -- the definition you just

        15             gave me?

        16      A      Well, of course, we know that -- I think their

        17             -- I think at least maybe the 2918 version of

        18             their intelligence-led policing manual is 80

        19             some pages long.    Maybe the previous one.

        20             They speak, of course, about evolution.       I'm

        21             not here as an expert on their particular

        22             program but about the fact that they can

        23             design it any way they wish and utilize it.

        24             So try and recall from memory?      Yeah, I'm not

        25             going to do that for you out of the thousands



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         1             and thousands and thousands of pages of

         2             documentation in this case as to what -- what

         3             theirs is.   We can certainly pull the manual

         4             up and you can direct me to something and I'll

         5             try to respond to it.

         6      Q      You said there that, you know, you're not --

         7             you're not there as an expert on the ILP

         8             manual; correct?

         9      A      That's correct.

        10      Q      And then you said that -- but you're here as

        11             an expert on the fact that they can design

        12             their program as they wish; is that right?

        13      A      I don't know that I said that I'm an expert on

        14             they can define it any way they wish.       The

        15             level, or acceptance of, you know, my

        16             testimony as we know is going to be up to the

        17             court in terms of what I can opine on.       But

        18             certainly in terms of talking about what is

        19             routine, customary, the norm, and attempting

        20             to pursue the various functions of a law

        21             enforcement agency I'll certainly offer what I

        22             can about that.

        23      BY MR. HOUSE:

        24             Ms. Ketch, can you read back the answer from

        25             two questions ago?    It was an answer and



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         1             response to my question about whether the

         2             definition that he had given me was any

         3             different from Pasco County's definition.

         4      (COURT REPORTER READS BACK PRIOR QUESTION AND

         5      ANSWER)

         6      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         7      Q      So, Mr. Hough, when -- again, my understanding

         8             of the testimony there is that you're saying

         9             you're here about the fact that they can

        10             utilize it any way they wish; is that correct?

        11      A      I think the quote was they can utilize it, but

        12             I'll clarify that that's what I meant if that

        13             -- if that wasn't it rather than go back

        14             through things.    Yeah, the point being, to

        15             give you the complete answer again, is for

        16             18,000 separate agencies, community policing,

        17             problem oriented policy, intelligence-led

        18             policing, how the individual agency in their

        19             individual community defines that and then

        20             utilizes that is a choice, as I testified

        21             earlier, within the law to utilize it in the

        22             fashion they see most effective going forward.

        23             So that's why, you know, in the academy when

        24             we teach and talk about those community

        25             oriented policing, problem oriented policing,



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         1             intelligence-led policing we provide law

         2             enforcement recruits the background

         3             information and talk about just generally what

         4             these are, and then make the point that

         5             depending on what agency, wherever you end up

         6             being a law enforcement officer, that agency's

         7             leadership will determine how, if at all,

         8             those principles will be put into action in

         9             that community.

        10      Q      And you added a qualifier in your answer

        11             there.    You said in the law.    Are you planning

        12             to testify about what the law is today?

        13      A      Well, of course, I'm not an attorney, and the

        14             point is a simple qualifier that has nothing

        15             to do with testifying about the law.       It's

        16             that when you formulate policy in an agency it

        17             has to be within the law.     So not meant as

        18             some kind of legal conclusion.

        19      Q      So the answer is no, you're not planning on

        20             testifying about what the law is today; is

        21             that correct?

        22      A      Well, my answer is that wasn't an added

        23             caveat.    I already testified to that about 40

        24             minutes ago.    And so, again, what I'll testify

        25             to now and at trial will be what is common and



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         1             ordinary in policymaking withing criminal

         2             justice and law enforcement agencies as they

         3             frame their programs and enact them, and

         4             certainly a component of that is that they do

         5             so if there are -- if there are any guidelines

         6             withing the law for certain components it

         7             should obviously take that into account.

         8      Q      Will your testimony take the law into account?

         9      A      To the extent that in trying to explain things

        10             as an expert witness, not as a fact witness

        11             giving yeses and noses.     I certainly would

        12             attempt to be comprehensive and where I saw

        13             that a notable or a factor that is something I

        14             would either teach in my role as a faculty

        15             member or in my role as a law enforcement

        16             trainer to the extent that the foundation

        17             begins with the law.     Certainly that's going

        18             to be in there.

        19      Q      When you say that's going to be in there, you

        20             mean you're going to testify to what the law

        21             says; is that correct?

        22      A      Although you've asked that and I've answered

        23             that a couple of times.

        24      Q      Well, I haven't gotten a yes or no.       So it

        25             would be -- it would be quicker if I got a yes



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         1             or no on one of these.

         2      A      Well, I just bet it would.     But, of course,

         3             I'm not here to answer in a way that you'd

         4             like me to.   I'm here to try to answer

         5             faithful to what I do for a living and what

         6             the last 40 years of my career has been.        So

         7             I'll let you know now, counselor, I'm not just

         8             going to serve you up with a bunch of quick

         9             yeses and nos you can use later.      What I

        10             testified to, and you've asked me three times

        11             and I've answered three times, now I'll do it

        12             a fourth, and that is that criminal justice

        13             programs and policies are built with the law.

        14             And so to the extent that you at trial,

        15             defense at trial, the court asks me a

        16             question, it will incorporate those things

        17             that I believe give a complete answer.

        18      Q      And those things that you're referring to

        19             there by things, it may incorporate the law;

        20             is that correct?

        21      A      To the extent that the law is incorporated in

        22             a policy or a program or the basis upon which

        23             an agency may design and carry out a program

        24             I'll comment in a way that I attempt to be

        25             thorough.



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         1      Q      And when you attempt to be thorough will you

         2             give what the law says?

         3      A      I think as in perhaps the report, but if

         4             there's a reference that needs to be made to

         5             some particular statute or court precedent and

         6             I'm able to appropriately cite or note that or

         7             comment I would try to be thorough with that.

         8      Q      Could you turn to page five of your report,

         9             please.

        10      A      I'm there.

        11      Q      Just give me a sec while I find it because I

        12             should have had a highlighted version and I

        13             could just see the things I wanted to ask you

        14             about.

        15      A      I get that a lot.

        16      (OFF THE RECORD)

        17      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        18      Q      So at the bottom of page five in your report,

        19             Mr. Hough, about midway through that paragraph

        20             at the bottom there's a sentence that says --

        21             actually, my mistake.     It's actually the first

        22             sentence of that last paragraph.      It says, "My

        23             methodology in reviews is to list all case

        24             materials, an assumed set of facts, not fact-

        25             finding nor credibility judgment, and to



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         1             provide opinions comparing specific case facts

         2             to accepted legal -- accepted practices,"

         3             excuse me, "never legal conclusions nor

         4             personal opinions."    Do you see that?

         5      A      I do.

         6      Q      So it's my understanding that you do not

         7             anticipate providing personal opinions today;

         8             is that correct?

         9      A      The opinions, of course, provided within the

        10             report, additional ones that I would perhaps

        11             state today or anything for the court, would

        12             be based on my knowledge-base and training,

        13             experience, awareness of what's kind of going

        14             on in the greater criminological and criminal

        15             justice world.

        16      Q      Sure.   So fair to say you expect to provide

        17             expert opinions and not personal opinions; is

        18             that fair?

        19      A      Generally speaking, that's correct.       How

        20             someone might interpret one way or another, of

        21             course, we leave to the court.

        22      Q      Sure.   But there's no reason today as you sit

        23             here that you disagree with that sentence in

        24             your report; is that correct?

        25      A      Not at this point.    I don't see any reason to



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         1             disagree.

         2      BY MR. POULTON:

         3             Can you pull that back up on the screen?

         4             We ---

         5      BY MR. HOUSE:

         6             Sure.

         7      BY MR. POULTON:

         8             I mean, I know it.    But it would just be

         9             easier, like if you're looking at a bigger

        10             thing, even highlight it maybe.

        11      BY MR. HOUSE:

        12             This was the sentence.

        13      BY MR. POULTON:

        14             Yeah.    No, I understand.

        15      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        16      Q      And as I do that, let's now turn to page 41 in

        17             the report.    I believe that's an appendix.

        18      A      Yes.

        19      Q      Appendix C.    So it looks like page 41 contains

        20             your educational credentials; is that correct?

        21      A      Yes, sir.

        22      Q      Is that a complete list of your educational

        23             credentials?

        24      A      No, sir.

        25      Q      What's missing?



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         1      A      I earned an Associate of Arts degree in law

         2             enforcement at what is now Manatee-Sarasota

         3             State College.     And then I had some credits in

         4             the Community College of the Air Force, mostly

         5             in meteorology, I think.

         6      Q      Anything else?

         7      A      Not that I can recall from an education

         8             standpoint.

         9      Q      What does ABT mean next to your Master of

        10             Public Administration from the University of

        11             South Florida?

        12      A      All but thesis.

        13      Q      Got it.    And then I see at the University of

        14             West Florida it says Doctor of Education; is

        15             that correct?

        16      A      That is correct.

        17      Q      Is that a credential signifying an expertise

        18             in teaching?

        19      A      No.   The Doctor of Education degree, the EDD,

        20             can take a variety of forms like so many

        21             academic degrees, especially at the doctoral

        22             level.    There are, I think in that one, three

        23             tracks.    I believe mine was curriculum

        24             instruction, which would be more aligned with

        25             learning and teaching, if you will.       But then



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         1             as you see after the semicolon there the

         2             concentration that I partook of was public

         3             administration.    So again, about the

         4             management of public sector agencies.

         5      Q      Sure.   And, you know, because I don't quite

         6             understand, I'll confess, what a Doctor of

         7             Education exactly is, is it fair to -- how

         8             would a Doctor of Education with a public

         9             administration concentration differ from a PhD

        10             in public administration?

        11      A      Sure.   There's about more than 50 different

        12             kinds of doctor outside of the medical field.

        13             We won't get into all the subspecialities and

        14             issues within medicine.     But within research

        15             doctorates, the EDD are the more common ones

        16             that's non-PhD.    PhD generally narrow and

        17             focus on one particular issue that the student

        18             becomes very adept with.     In education some of

        19             it can be guided by whatever the dissertation

        20             is that the practitioner or student is

        21             pursuing.    With public administration there's

        22             also DPA, Doctor of Public Administration,

        23             which some places offer aside from PhD.       Let's

        24             face it, these are -- these are often

        25             confusing.    So the difference between one with



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         1             a public administration concentration is that

         2             a -- I can't remember the number, but a large

         3             percentage of the doctoral credits were

         4             specific to public administration curriculum

         5             as opposed to any other thing one might -- one

         6             might do with it.    Some people would want to

         7             focus -- if they're going to perhaps think in

         8             terms of being a higher ed administrator they

         9             may focus specifically on education related

        10             management and leadership as opposed to the

        11             more broad public administration leadership

        12             and management.

        13      (PLAINTIFF'S EXHIBIT B INTRODUCED)

        14      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        15      Q      Sure.    I'm going to introduce our next

        16             exhibit.    I think it should just throw itself

        17             on the screen since I'm sharing my Adobe.        So

        18             you see this?

        19      A      I do.

        20      Q      Do you -- let me zoom out of it.      Do you

        21             recognize what this document is?

        22      A      Yes.    That's an article I wrote that was

        23             published by the British Society of

        24             Criminology.

        25      Q      So you wrote this?



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         1      A      I did.

         2      Q      What does administrative evil mean right there

         3             in the title?

         4      A      Yeah, it's just as well for me, but that's

         5             okay.    Administrative evil is a concept where

         6             essentially referring to things that perhaps

         7             the individuals involved in governmental -- it

         8             doesn't have to be governmental, but generally

         9             a governmental type of agency or program or

        10             some function that they perform are doing

        11             things that they are directed to do that's

        12             part of what their policies may be, but

        13             perhaps at the same time by resulting in some

        14             unattended consequences that may be

        15             disadvantaging some unexpected others or

        16             causing, you know, some -- some kind of

        17             unwanted outcome that was not foreseen or is

        18             not recognized by whoever those people within

        19             that agency are at that time.      They may

        20             sometimes take a historical look back to

        21             recognize it.

        22      Q      I'm going to turn to page 30 in this paper,

        23             and I've got it highlighted here.       Can you see

        24             what's highlighted?    Is it too small still?

        25             Can I ---



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         1      A      I see what's highlighted and I'll -- yes, I'll

         2             note, as you said, that it's -- yeah, at least

         3             that many pages long.     So context

         4             notwithstanding I'll try to respond.

         5      Q      Sure.     Can you -- can you read what's on the

         6             screen?     Is it big enough?

         7      A      Yes, I can read that.

         8      Q      I'll read it for the record, too.        So this

         9             sentence says, "Pragmatism has often masked

        10             harm throughout history without resorting to a

        11             defense of utilitarianism and the arguable

        12             legitimacy of the greater good.        But what of

        13             the "creep" of organization mission to be

        14             efficient in actions and effective to broad

        15             mandates?"     Can you tell me what -- well, what

        16             the second sentence means?

        17      A      Well, again, it's -- we're on page, you know,

        18             30 in a lengthy article talking about lethal

        19             use of force in law enforcement, as opposed to

        20             intelligence-led policing.      So what I'm

        21             referring to there, the best of part of my

        22             remembrance, is broadly talking about whether

        23             it's the water department, street department,

        24             highway department, etcetera, you may be doing

        25             things that you're following procedures,



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         1             etcetera.     This is kind of classic both PA and

         2             business school kinds of things.      You can be

         3             very, very efficient in what you're doing but

         4             it may not be the thing that are actually

         5             effective.     So whether it's the building the

         6             widgets, the imaginary article being turned

         7             down off the assembly line and you're really,

         8             really good at building those widgets and it

         9             turns out widgets went out of being useful

        10             five years ago.     So just some of that general

        11             managerial aspect of if you're just doing

        12             things incrementally they may or may not be

        13             productive, as opposed to doing innovative

        14             things where you're -- where you're trying new

        15             things and trying to evolve.

        16      Q      And now I'm going to go down to page 39 in the

        17             article.     There's a sentence here at the end

        18             of the first paragraph on page 39.       "The

        19             perceptions that officers have of the

        20             priorities of their supervisors, along with

        21             the modeling of desired behavior by those

        22             supervisors, continues to exert influence on

        23             officer behavior."     What does that sentence

        24             mean?

        25      A      Well, same caveat that we'll provide for the



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         1             court which is a memory test on something I

         2             wrote a couple of years ago that wasn't about

         3             what we're here for today, so we're trying to

         4             monkey it into position to apply.       It's, of

         5             course, attributed to another author, Johnson,

         6             from a piece done in 2010 that if I'm your

         7             employee and I understand what your priorities

         8             are in something that that, as we know in all

         9             organizations, very often has an impact on how

        10             I attempt to accomplish those things that you

        11             set out before me.

        12      Q      And I just want to be clear.      This article was

        13             published in January, 2021; is that correct?

        14      A      I believe that's correct.     I think that's when

        15             they got to it, yes.

        16      (PLAINTIFF'S EXHIBIT C INTRODUCED)

        17      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        18      Q      And then I'm going to introduce another --

        19             another exhibit.     Can you see this on your

        20             screen?

        21      A      I can, yes.

        22      Q      Do you recognize this document?

        23      A      I do.     It's an article that I co-authored some

        24             years ago.     Quite some years ago.

        25      Q      Let's see.     I'm going to go down to page 40,



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         1             which I think is just the first page.        First

         2             full page of the article.     Let's see here.

         3             This highlighted portion.     This sentence says,

         4             "Policy is a statement of agency philosophy,

         5             though this is not a policy's sole function.

         6             Officers look to policy for practice guidance

         7             on what to do and how to do it."      Do you see

         8             that?

         9      A      I see that, yeah.

        10      Q      What does -- what do those two sentences mean?

        11      BY MR. POULTON:

        12             I'm going to object to the form.      Go ahead.

        13      BY THE DEPONENT:

        14             Once again, this 12 year old article is about

        15             the use of force in law enforcement, not about

        16             intelligence-led policing.     The general

        17             commentary there about policy and training.

        18             Again, we can -- since we are writing about

        19             officers, we can leave them officers, or talk

        20             about grounds keepers, and the idea that

        21             policy that is made is general and it

        22             expresses typically what an organization's

        23             overall broad philosophy is, and that's not,

        24             you know, it's only function.      Part of the

        25             function goes into issues like what you're



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         1             also saying to the public since an agency,

         2             much like the Pasco Sheriff's Office, has all

         3             these available to the public for

         4             transparency.    But then our officers, or

         5             grounds keepers or whoever, look to them also

         6             for some guidance about what are the things

         7             they're supposed to be doing, like crime

         8             prevention, as well as how to go about doing

         9             some of those things.

        10      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        11      Q      I'm going to skip down to page 52 of this

        12             paper.

        13      A      Yes, it's another long one.

        14      Q      I had a great weekend.

        15      A      I'm so sorry.

        16      Q      So this is near -- the very end of the paper.

        17             There's a sentence here that says -- it's

        18             highlighted and it says, "Policies must also

        19             be reviewed at least annually with appropriate

        20             public input."    Do you see that?

        21      A      I do see that.

        22      Q      Do you agree with that statement still?

        23      BY MR. POULTON:

        24             Object to the form.     Go ahead.

        25      BY THE DEPONENT:



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         1             In the context of what apparently you read

         2             yesterday and I wrote probably 13 years ago,

         3             if I wrote that part of it, this is as I

         4             recall, and I'm sure I'll tell the court this

         5             after I've reviewed it, was in a section on

         6             commentary about a model use of force policy,

         7             and given the movement that occurs in law

         8             regarding the use of force that as the general

         9             kind of policy admonition things should be

        10             reviewed annually, and because we're talking

        11             about the use of force that public input might

        12             be, you know, appropriate in a formalized, you

        13             know, fashion.    And again, since this, no more

        14             than anything else, carries the effect of law

        15             but was two scholars trying to talk about how

        16             best to guide the use of force usage.       That's

        17             the best I can remember from, I'll say,

        18             probably 13 years ago when that was written.

        19      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        20      Q      What public input would be appropriate in ---

        21      A      Well ---

        22      Q      And let me ask it because I want to make sure

        23             it's ---

        24      A      Sure.

        25      Q      --- tied to my previous question.       Sorry.



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         1             What public input would be appropriate with

         2             respect to reviewing these policies you speak

         3             to in this paper?

         4      A      And I'm certainly not sure it's tied in to

         5             anything we're talking about since, again, it

         6             was about use of force specifically and

         7             policies on the use of force.      So public

         8             input, you have the opportunity -- and I'll

         9             try to help show some connection here.         Just

        10             like the Pasco Sheriff's Office has that if

        11             you want to complement, complain, or provide

        12             information to an agency that's one medium.

        13             That's one method you can have by having your

        14             information available through public records

        15             request as, say in this case, people can gain

        16             copies of policies of the Pasco Sheriff's

        17             Office.   That's another way that you can get

        18             input after people review these.      Media, of

        19             course, can get these as well.      So public --

        20             appropriate public input is a bit of a

        21             touchstone and difficult as we know in any

        22             democracy where you may want input.       Some of

        23             that is up to the individual agency of the --

        24             of the individual.    Like do I want to comment

        25             on a policy.



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         1      Q      Sure.     So -- and it seems like in terms of

         2             appropriate public input that you said a

         3             complaint system, records requests.       You

         4             mentioned media.     Are there any others?

         5      A      Well, I didn't specifically say complaint

         6             system.     The system is ---

         7      Q      I'm very sorry.     I thought you used the word

         8             complaint.     My mistake.

         9      A      I did use the word complaint, but what I said

        10             was -- and I may have referred to, I think, in

        11             the report is it's a complaint, concern or

        12             complaint.     So I wouldn't want to

        13             mischaracterize it as just complaints.          So

        14             there are mechanisms as far as -- as far as

        15             that goes.

        16      Q      So besides that and the ability to have

        17             records requests and media are there any other

        18             forms of appropriate public input on these

        19             policies you speak to in the article?

        20      A      Well, public input comes in those ways that I

        21             mentioned.     They can come in emails.    They can

        22             come in retaining an attorney to either

        23             communicate with an agency or sue an agency.

        24             They certainly can come in written

        25             correspondence.     They can come in advocates



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         1             making a case to some agency about some policy

         2             or to your elected representatives, of course,

         3             about the same kinds of things and whether the

         4             policy translates, and then we get to talk

         5             about procedures or just policy.      So it's

         6             certainly not limited to what my memory might

         7             draw up about this use of force article from

         8             13 years ago, but important to have the

         9             ability for input.

        10      Q      Sure.   And I just want to make sure I have a

        11             complete answer.     Are there any other forms of

        12             public input that you didn't mention there?

        13      A      Well, with my caveats I'm not claiming that's

        14             a complete answer.     I may have remembered

        15             three more by the time we get to trial.         So

        16             again, not being in a memory test, the point

        17             is about having the ability to have public

        18             input and that can take a variety of form and

        19             have different mechanisms.     But it is

        20             important, as I said, in a democracy that

        21             there are ways that public, be that at an

        22             individual level, a group level, other agency

        23             level, can communicate information to a public

        24             agency about some input.

        25      Q      Sure.   And you know I have to get this for the



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         1             record.    I'm not obviously being pedantic.

         2             But when you say that there are three

         3             mechanisms you may testify about at trial, as

         4             you sit here today you cannot give me those

         5             three methods; is that right?

         6      A      Right, because it could be 13, or it could be

         7             one or it could be no more, or it could be the

         8             general statement, again, that what is

         9             recommended in this normative article from 13

        10             years ago about model use of force policies is

        11             that there is some way for the public to give

        12             input to an agency.

        13      Q      Right.    Let's see.   I think -- now, I didn't

        14             see the term focused deterrence in your

        15             papers, but I might be -- missed something.

        16             So have you ever discussed focused deterrence

        17             in one of your academic papers?

        18      A      I don't recall.    And, of course, you're saying

        19             focused deterrence as if it's a monolithic

        20             defined concept which, of course, it isn't.

        21             But I don't recall specifically talking or

        22             using that term as opposed to deterrence.        But

        23             as I sit here today, since you're the one who

        24             read some of this over the weekend, I don't

        25             specifically recall in any books or -- you



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         1             know, specific use of the word focused before

         2             deterrence.

         3      (PLAINTIFF'S EXHIBIT D INTRODUCED)

         4      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         5      Q      Well, speaking -- speaking of your books,

         6             let's turn to the next exhibit.      Do you

         7             recognize this?

         8      A      Yes, sir.

         9      Q      It might be small on your screen.       What is

        10             this document?

        11      A      That is a textbook, American Homicide, that I

        12             co-authored.

        13      Q      And I'll represent to you that this is not the

        14             entire textbook.     These are excerpts from the

        15             textbook that I have in this -- in this PDF

        16             here.   But I'm going to turn to -- and I'll

        17             say it's also an excerpt from an electronic

        18             copy of the textbook.     I'm going to turn to

        19             what's marked as page 267.     And it's tough

        20             because I don't want to make this so small

        21             that you can't -- that you can't read it but

        22             it won't quite all fit on the page.       So -- and

        23             let me find -- I can't -- I can highlight it

        24             like that.     So I will -- I will go up here.

        25             So it's across these two pages here, again,



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         1             both of which are marked as page 267 on the

         2             book because this is from an electronic copy.

         3             But beginning at the bottom of this PDF page.

         4             It's PDF page five.     It says -- and I don't

         5             know if you can -- can you see where I'm

         6             highlighting?     Can you see the words okay, Mr.

         7             Hough -- or Professor Hough?

         8      A      I can.

         9      Q      So it says, "Checklist prediction must be

        10             avoided.     The use of validated assessment

        11             instruments can be helpful if they are used in

        12             conjunction with a human interviewer.       On a

        13             bad day in Mrs. Brown's third grade class, the

        14             majority" -- and I'll scroll down.       "The

        15             majority of kids may look to be heading to a

        16             life of crime if a simple checklist were used

        17             that tabulated deviant or disruptive

        18             behavior."     Do you agree -- as we sit here

        19             today do you agree with this statement?

        20      A      So ---

        21      BY MR. POULTON:

        22             I'm going to object -- I'm going to object ---

        23      BY THE DEPONENT:

        24             Yeah.

        25      BY MR. POULTON:



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         1             --- with two sentences out of a 300 page book.

         2             But go for it.

         3      BY THE DEPONENT:

         4             Yeah, that's the comment I was going to make.

         5             That ---

         6      BY MR. HOUSE:

         7             And, Tom, I'm not sure I totally -- I mean, I

         8             can rephrase the question if need be.       I just

         9             -- what I'm asking is if there's any reason

        10             why the words here he would have reason to

        11             disavow for any -- for any reason.

        12      BY MR. POULTON:

        13             Well, that -- I mean ---

        14      BY MR. HOUSE:

        15             As like -- as in like, I mean -- yeah.

        16      BY MR. POULTON:

        17             I just -- I object to the phraseology of that

        18             -- of that question.     I think that that's -- I

        19             understand the point you're trying to make,

        20             but I'll object to the form and leave it at

        21             that for now.    If you want me to elaborate I

        22             will.

        23      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        24      Q      Professor Hough, I'll ask it again.       Just the

        25             sentences that we read do you have any -- do



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         1             you have any reason not to agree with the

         2             content in those sentences?

         3      A      As has been noted by defense counsel, it --

         4             it's a 301 page book that I'm holding in my

         5             hand here.        That's out of the final chapter in

         6             a book that is about homicide, and it's in a

         7             chapter about victims, society and the future.

         8             And that incredibly limited point here where

         9             we see the fanciful reference to Mrs. Brown's

        10             third grade class is the point that merely

        11             working from an attribute checklist, unlike

        12             the instant case that we're dealing with, is

        13             not something that people should casually

        14             utilize in trying to make some kind of

        15             concrete prognostication.        So do I agree with

        16             what we wrote about kids in Mrs. Brown's third

        17             grade class and the point to students and

        18             others who would read this book about

        19             homicide?     Yes, I do.     Is this written when it

        20             was written to apply to intelligence-led

        21             policing program at the Pasco Sheriff's

        22             Office?     No.

        23      Q      And I'll just say, because I'm going to be

        24             asking you about other papers and books and

        25             stuff, that I'm asking about them within their



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         1             context obviously.    I'm not -- you know, I

         2             know you keep -- I don't want to slow down

         3             your answers with that proviso every time

         4             because I understand that if I'm asking about

         5             the book it'll be about the book.       Do you --

         6             do you understand that?

         7      A      I understand deposition process.

         8      Q      Yeah, again, I just want to -- I can make it

         9             clear on the record I'm not asking you to

        10             compare the book to what's going on in Pasco.

        11             I'm trying to figure out some broad principles

        12             of your background, if that ---

        13      BY MR. POULTON:

        14             Well, see, that's the objection.      It's taking

        15             a couple of sentences like that in a different

        16             context and trying to -- trying to argue that

        17             they're broad principles that you're going to

        18             then try to apply in another context.       That's

        19             the objection I think.     And I think that Dr.

        20             Hough's testified to that.

        21      BY MR. HOUSE:

        22             Sure.   But, I mean, these are his, you know,

        23             background -- I mean, statements; right?

        24             These are not -- again, this is part of

        25             developing his background.     I'm not -- I'm not



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         1             saying, for instance, that these words are

         2             applying, when he wrote them, to Pasco County.

         3             I do not -- I do not mean to imply that.        So I

         4             don't think it's necessary to have that

         5             proviso every time.     I mean, the witness can

         6             feel free obviously to add that.      But for the

         7             record, when I ask about the book I'm asking

         8             about the book.

         9      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        10      Q      So what -- you used the term in your last

        11             answer, I believe.     You called it attribute

        12             prediction; is that correct?

        13      A      I may have used that, I think, together.

        14      Q      Maybe it was attribute checklist?       Does that

        15             sound right?

        16      A      That could be.

        17      Q      Is that -- and is that -- is an attribute

        18             checklist the same as the term checklist

        19             prediction that was on this -- this page right

        20             here?

        21      A      Well, no.     And the reason for that again is

        22             this textbook, and me being in criminal

        23             justice for more than four decades, this is a

        24             textbook.     This isn't a statement of my broad

        25             principles.     That's an advocacy piece is a



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         1             statement of broad principles.      If I wrote an

         2             op-ed it might be about broad principles.        If

         3             I wrote some other kind of document or gave

         4             some kind of talk or said something in the

         5             media about what I personally, Richard Hough,

         6             liked or disliked, that might be a broad

         7             principle.    This is intentionally a textbook

         8             and, again, geared towards undergraduate,

         9             sometimes graduate university and college

        10             students.    And in this specific part here

        11             about checklist prediction is as I said a few

        12             minutes ago that that's not in a vacuum.        You

        13             don't just say attorney certain age, certain

        14             whatever, oh, that means they're this.       That

        15             would, you know, not be scientific.       It would

        16             be probably logical or commonsense.       So again,

        17             that's wildly taken this out of context to, as

        18             you say, build what you think are my broad

        19             principles which you will not divine from

        20             this.

        21      Q      Do your principles in any way disagree with

        22             what's in this textbook?

        23      A      We started our day with pointing to where I

        24             said I'll do personal opinions in my reports.

        25             And again, as the court understands, there's a



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         1             difference between an attorney and a

         2             criminologist.    I'm not an advocate.     I'm not

         3             here to advocate for the plaintiff or the

         4             defense.   I'm here to provide information and

         5             understanding of topics that I know something

         6             about and the court will judge whether I know

         7             enough to be of use.     So what I agree with,

         8             don't agree with, I assess.      I assessed the

         9             PSO's program and found it to be acceptable in

        10             terms of customary practice.      As to what I

        11             wrote a few years ago, if this is part that I

        12             wrote about checklist prediction, that was

        13             about Mrs. Brown's hypothetical third grade

        14             class and not thinking they're all going to be

        15             mass killers or serial killers.

        16      Q      Is there -- would you say this book is within

        17             the main stream of criminology?

        18      A      As I pointed out in my report, even that kind

        19             of phraseology is a bit fraught to say what's

        20             mainstream criminology.     Deterrence has been

        21             in Western thought for centuries or a

        22             millennia perhaps.     A book in mainstream

        23             criminology, it wasn't written with the intent

        24             to be in mainstream criminology.      So I can

        25             appreciate your question, but I don't -- I



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         1             don't know how to answer that, certainly not

         2             at risk of having that pop back up again

         3             somewhere out of context.

         4      Q      Sure, sure.   I believe earlier you referenced

         5             this as a textbook; is that correct?

         6      A      That's correct.

         7      Q      Do you use this as a textbook in your classes?

         8      A      I do.

         9      Q      So can you give me an example of how the

        10             checklist that you refer to in Mrs. Brown's

        11             third grade class would indicate that someone

        12             is heading to a life of crime?

        13      BY MR. POULTON:

        14             Object to the form.

        15      BY THE DEPONENT:

        16             No, because that's not what this was written

        17             about.

        18      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        19      Q      Well, so I'm -- my reading of this says, "On a

        20             bad day in Mrs. Brown's third grade class, the

        21             majority of kids may be -- may look to be

        22             heading to a life of crime if a simple

        23             checklist were used that tabulated deviant or

        24             disruptive behavior."     And I guess what I'm

        25             saying is can you give me an example of what



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         1             that would look like if a checklist were used

         2             to tabulate deviant or disruptive behavior?

         3      A      Well, probably not from this because, again,

         4             that's -- we weren't writing to show examples

         5             of checklists.     We were writing, as I

         6             testified to a couple of times now, to not in

         7             a vacuum take a simple checklist of kids in a

         8             third grade class and try to extrapolate some

         9             eventual outcome in adolescence or adulthood.

        10      Q      And why couldn't that be extrapolated?

        11      A      Because you need things in context.        Perhaps

        12             knowing past behavior, like a criminal record

        13             or offenses.     But for this example in this

        14             textbook about homicide, the point for

        15             students and others in reading this is to not

        16             merely take a simplistic checklist of

        17             attributes in a fanciful hypothetical third

        18             grade class and use that to say that somebody

        19             is going to turn out to -- for a life of

        20             crime.

        21      Q      Is there anything else you would need for

        22             context besides past behavior?

        23      A      Well, again, I'll put this 301 page book on

        24             homicide aside.     And in trying to use

        25             different methodology, since I have to frame



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         1             what I'm thinking on my side of the screen in

         2             terms of what case have I been asked to

         3             evaluate and opine, does it, you know, mesh

         4             with what criminal justice agencies in the

         5             U.S. try to do.    Yes, it does.    And then try

         6             to, from your question, reverse engineer.         Is

         7             there -- is there some statement about what

         8             someone would need.    What the Pasco Sheriff's

         9             Office has done is put 30 people or so

        10             together, do a great deal of research, write a

        11             lot, have a lot of bits and pieces that their

        12             corporate representative and fact witnesses

        13             would testify to about how the inner-workings

        14             of it are.   For me to just extemporaneously

        15             launch some kind of monolog about things that

        16             might appear in someone's checklist about

        17             something for committing a homicide where this

        18             is a negative assessment of don't just do

        19             that, I hope I'm giving you enough of why

        20             that's not a yes or no kind of an answer

        21             because that would be pretty irresponsible of

        22             me to do that.

        23      Q      So I'm going to object to that answer.       My

        24             question was your answer before two questions

        25             ago was that you need context including past



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         1            behavior.    And my question is what other

         2            things would you need in order to form

         3            context?

         4      BY MR. POULTON:

         5            Object to the form.     Do you mean in the -- can

         6            you clarify do you mean in th sense of

         7            homicide ---

         8      BY MR. HOUSE:

         9            Sure.   My understanding here was that I asked,

        10            you know, why couldn't you use a checklist to

        11            tabulate deviant or disruptive behavior.          My

        12            understanding is that the witness' testimony

        13            was that, well, you would need context

        14            including past behavior.      So my question is

        15            what other -- what other things besides past

        16            behavior would you need for that context, if

        17            indeed there's anything else.       It might be

        18            past behavior is the only thing, but that's my

        19            question.

        20      BY MR. POULTON:

        21            And I'll just ask you to clarify whether you

        22            mean it -- have we left now the reality of the

        23            book and now we're talking about ILP in Pasco

        24            County or ---

        25      BY MR. HOUSE:



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         1            No.     We are strictly -- again, I'm asking

         2            strictly with this sentence about Mrs. Brown's

         3            third grade class.     My understanding was that

         4            the witness said, again, that a simple

         5            checklist could not be used to tabulate

         6            deviant or disruptive behavior.        And when I

         7            asked why I was told that context was

         8            necessary including past behavior, and I'm

         9            asking what other context would be necessary.

        10            So again, within the context of this -- this

        11            book.

        12      BY THE DEPONENT:

        13            Okay.     So again, this isn't statements of

        14            broad principles nor an exhaustive attempt

        15            here in a deposition to say what things in my

        16            remembrance and two cups of coffee would be in

        17            a checklist for whether I think this example

        18            was about mass killer or something a third

        19            grader might respond to that may or may not in

        20            the future indicate something that I didn't

        21            flush out in this.     There was no then.     You're

        22            -- understandably you're taking something and

        23            now trying to fit it to what we're talking

        24            about.     That's not what this was.     So I'm

        25            having a hard time being responsive when I'm



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         1             trying very hard to be responsive.        But at the

         2             risk of just saying something that gets

         3             repeated back at some point that's -- that's

         4             not in context and I wasn't creating a

         5             checklist here.     This was cautioning people

         6             not to just use a checklist on a third grader

         7             for murder in the future because that couldn't

         8             be complete.     So I'm trying diligently to be

         9             responsive to your question.      I'm just not

        10             sure how much ---

        11      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        12      Q      Sure.   And, Professor Hough, I think -- I

        13             think part of the confusion here might be that

        14             depositions can go beyond the scope of the

        15             case a bit; right?     So again, I'm trying --

        16             I'm not an expert in criminology.       You're here

        17             as the expert.     I'm trying to figure out sort

        18             of what things mean.     And so I am -- again,

        19             I'm asking questions and I think trying to

        20             figure that out.     And I think some of the

        21             confusion might be you're trying to relate it

        22             to Pasco.     And again, I'm just trying to get

        23             answers to these questions on the book, on

        24             your papers for my own background knowledge of

        25             this field.     So, you know, that -- I



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         1             understand that, but that's why these

         2             questions are going the way I think maybe he's

         3             -- this would proceed a little quicker if we

         4             didn't tie it to Pasco with every question

         5             because again that's -- if I ask you about

         6             Pasco, I'll ask you about Pasco.      Does that

         7             make sense?

         8      A      Well, it absolutely does and -- and you have

         9             to know how much I appreciate and respect the

        10             fact that you are here an advocate for

        11             Plaintiffs, know that I've been giving

        12             depositions since 1979, and to think that all

        13             of a sudden you're going to be the one

        14             attorney in hundreds that wasn't fishing to

        15             have something to pull up out of context later

        16             and go, "But you said."     So there's a trend

        17             line.   There's a regression.     Forty-three

        18             years of, you know, attorneys who are

        19             advocates coming somewhere to ask questions

        20             of, in this case, someone who's trying to give

        21             factual contextual responses about things, not

        22             defend or attack something, because that's not

        23             what I'm here to do because I do understand my

        24             role.   So I'm appreciate your role and I'm

        25             trying to fit in mine.     So I can't just go,



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         1             oh, yeah, this has nothing to do with the

         2             Pasco County Sheriff's Office, of course, it

         3             has everything to do with it.        And, by the

         4             way, I'm not here to defend them either, or be

         5             plaintiff or defense.        I'm here to try to

         6             respond to things I know about.

         7      Q      I think it's later on the same page -- again,

         8             I'm sorry for not pre-highlighting this.

         9      A      Right.

        10      Q      But it says right here where I'm highlighting,

        11             there's a sentence that says, "We can even

        12             reasonably predict that many gang members will

        13             continue to engage in violence, for instance,

        14             and that their risk of committing murder or of

        15             being murdered is significantly higher than

        16             others in society or even people who are

        17             otherwise matched for age or economic

        18             position.     This knowledge alone cannot stop

        19             violence.     Programs must use this information

        20             to implement education and intervention

        21             strategies."        My first question would be why

        22             can't that knowledge alone stop violence?

        23      A      Oh, my.     Okay.     Let me -- let me try to read

        24             this and remember what maybe I was thinking

        25             however many years ago I wrote this in this



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         1             summary chapter on predicting violence.       Of

         2             course, we know that all humans are capable of

         3             violence.   Well, reading it as simplistically

         4             as I can without getting in the mindset of

         5             everything that led up to this summary chapter

         6             in the textbook, the point is just having

         7             knowledge about a thing cannot necessarily

         8             stop it, which again -- well, I'll let you ask

         9             your question.     But that -- that was the --

        10             kind of the point there.     But just knowing

        11             about a potential risk doesn't allow you to

        12             stop it.

        13      Q      Well, so the next sentence after that says,

        14             "Programs must use this information to

        15             implement education and intervention

        16             strategies."     What intervention strategies

        17             might those be?

        18      A      Things like home visits to people who might be

        19             gang members who's just had somebody killed

        20             within their gang.     That comes to mind since

        21             we're talking in this limited slice here about

        22             gangs and violence.

        23      Q      Would a warrant normally be sought out before

        24             those home visits?

        25      A      So now we're, again, not talking for a second



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         1             about this passage of this 300 page book.

         2      Q      No, no.    I am asking about -- so I believe

         3             your answer was intervention strategies here

         4             in the book might include home visits; is that

         5             correct?

         6      A      Sort of in a very loose way since, again, we

         7             -- you're taking -- you're taking a question

         8             about intervention in a sense about

         9             implementing education and intervention

        10             strategies, you know, for programs.       So again

        11             asking me in a search for broad principles to,

        12             you know, postulate some way that this

        13             actually comes about in intervention

        14             strategies.    Since this was about, you know,

        15             something else and you're leaping from -- you

        16             know, home visits is one thing.      If you're

        17             going to come visit, you know, my home you

        18             don't need a warrant to -- to do that.       You

        19             can come knock on my door and talk to me.

        20      Q      And so just to be clear for my question.         The

        21             intervention strategies referenced in that

        22             sentence which may include home visits, those

        23             home visits would not then require a warrant

        24             before taking place; is that correct?

        25      A      Well, of course, there were no intervention



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         1             strategies mentioned in this sentence or

         2             intended in this sentence.     As the writer, as

         3             the author, as the criminologist, the point

         4             was you should use information that you

         5             possess in crafting intervention strategies.

         6             Not gerrymandering statements that had nothing

         7             to do with Taylor v. Pasco into this.       I

         8             wasn't making a statement about specific

         9             strategies.     I understand, just as well as you

        10             do, what they're trying to ask me.       And while

        11             being respectful I'm trying to be responsive.

        12             Trying to, you know, respond faithfully like I

        13             said to who I am and what I do.

        14      BY MR. HOUSE:

        15             I'm just going to ask can we go off the record

        16             really quick?

        17      (OFF THE RECORD)

        18      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        19      Q      Just a few followup questions about this book.

        20             So I believe you testified earlier that you

        21             used this textbook in your classes; is that

        22             correct?

        23      A      In the homicide class.

        24      Q      Homicide class.     Do you use this textbook in

        25             any other classes?



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         1      A      No.

         2      Q      So I think later on this same page -- well,

         3             you know what.     I think we're done with this

         4             exhibit.     Let me bring up another exhibit.

         5      (PLAINTIFF'S EXHIBIT E INTRODUCED)

         6      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         7      Q      Do you see -- let me reshare my screen.       Do

         8             you see what's on my screen, Professor Hough?

         9      A      Now I do, yes.

        10      Q      Do you recognize what this is?

        11      A      I do.

        12      Q      What is it?

        13      A      It's a cover of a textbook I wrote on criminal

        14             investigations.

        15      Q      And I'll represent to you again that these are

        16             excerpts, not the entire book, and from an

        17             electronic copy.     Turning to page 92 of the

        18             book at this paragraph that I'm highlighting

        19             for you.     It says, "In the 1990 book Beyond

        20             911: A New Era for Policing, Sparrow, Moore,

        21             and Kennedy mused about what uniform patrol

        22             officers might do if they had time beyond that

        23             spent running from one call for service to the

        24             next."     Do you see that?

        25      A      I do.



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         1      Q      Is the Kennedy cited here the same David

         2             Kennedy in this lawsuit Plaintiff disclosed as

         3             an expert?

         4      A      It is.

         5      Q      I think that's all I wanted to ask about that

         6             for now.     And then have you ever discussed the

         7             term focused deterrent in any of your books?

         8      A      Well, I know you've already asked me that and,

         9             again, deterrents certainly, and I had said

        10             earlier that I could not recall whether

        11             putting the word focused in front of it or any

        12             other modifiers before or after the word

        13             deterrence I don't recall.

        14      Q      So if I recall correctly I was asking about

        15             papers before, but is it your testimony is

        16             that books -- same answer for books?

        17      A      I think so.     I just don't independently recall

        18             if in any of the writing using those two words

        19             together.

        20      Q      Let's turn to your report once again.       We'll

        21             go to page four.     On page four of your report

        22             you say, and I'll highlight it, "In case

        23             analysis, as a consultant, I utilize

        24             recommended national standards, model

        25             policies, handbooks, and guides put forth by



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         1             various professional organizations."       Do you

         2             see that?

         3      A      I do.

         4      Q      Did you perform the, quote, "case analysis,"

         5             end quote in your report?

         6      A      I'm not entirely sure what you mean.

         7             That's ---

         8      Q      Sure.   Sorry.

         9      A      Go ahead.

        10      Q      So it says in -- my understanding of this is

        11             it says what you do in case analysis.       And so

        12             my question is, is your report an example of

        13             case analysis?

        14      A      In this particular instance it is, but this is

        15             not -- this paragraph is in all of my reports

        16             on police issues to make the point that these

        17             are the kinds of things that would be included

        18             if applicable in looking at different things.

        19             So for instance, I don't know -- I don't think

        20             they're, for example, anything from the

        21             National Tactical Officers Association that I

        22             referenced in this report as far as I know.

        23             So this is a general ---

        24      Q      So, well, did you refer to any recommended

        25             national standards in writing this report?



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         1      A      I can't recall.     I know somewhere in the body

         2             of the report mentioning part of the

         3             definitions from the -- or definition or

         4             description from the International Association

         5             of Chiefs of Police which, again, focused on

         6             violent crime as opposed to the property

         7             crimes.

         8      Q      And that -- as you recall now, that would be

         9             from a recommended national standard?

        10      A      It would be from an organization one area of

        11             discussion, because as we know none of these

        12             are authoritative in the sense that they can

        13             mandate any kind of regulation or standard or

        14             policy.

        15      Q      So do recommended national standards then come

        16             from organizations like the one you just

        17             mentioned?

        18      A      They can.

        19      Q      Where else do they come from?

        20      A      These that are listed they -- you may

        21             occasionally get ones from the National

        22             Institute of Justice, as an example, or other

        23             private organizations that may be advocacy

        24             groups.     The American Bar Association.    A

        25             variety of places that can produce something



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         1             that they would like those in the field to

         2             consider when they draft policy and

         3             procedures.

         4      Q      Did you use any model policies in writing this

         5             report?

         6      A      If they were cited in text I'll -- I'll -- I

         7             don't recall independently without just going

         8             through the report.

         9      Q      So did you use anything in writing this report

        10             that's not cited in the text?

        11      A      My knowledge-base and experience and just day-

        12             to-day emersion in the literature and the

        13             process.     But in terms of specific, those

        14             things that are in the appendix and those

        15             things that are cited in text would be the

        16             predominate ones to show support.

        17      Q      Sure.     And that was perhaps a bad question on

        18             my end.     I think my actual question would have

        19             been did you refer to any documents besides

        20             those cited in your report to write your

        21             report?

        22      A      No, I don't believe so.

        23      Q      Thanks.     So between pages four and five you

        24             say that your analysis is informed by journals

        25             and government sources; is that correct?



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         1      A      Yes, it can be.     Again, that's part of the

         2             commentary that if it's -- if I deem it

         3             appropriate in reviewing something, yes.

         4      Q      But -- and I'm sorry.     I know this is sort of

         5             repeating my last question but I just --

         6             because I did it out of order I want to ask.

         7             But any documents of those government sources

         8             that you use would be cited to in your report;

         9             is that correct?

        10      A      That's correct.

        11      Q      On page six, here at the bottom of page six it

        12             says, "I may amend my opinions and supplement

        13             my report as necessary based upon additional

        14             information furnished to me as well as my own

        15             research and further analysis of case

        16             factors."   Do you see that?

        17      A      I do.

        18      Q      Is there any reason as of today that you would

        19             want to amend the opinions in your report as

        20             it is written?

        21      A      Not at this time.

        22      Q      Is there any reason as of today that you would

        23             want to add to your report?

        24      A      Not at this point.

        25      Q      And then let's turn to -- we'll go down to the



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         1             bottom really quick.     Pages 33 to 37 of your

         2             report.     So 33 where it says opinions and

         3             conclusions, and then if you go on to the

         4             following pages there's like a preliminary

         5             paragraph and then there's a list of -- let's

         6             see.     Nineteen, I believe, items.    So does

         7             that section under opinions and conclusions --

         8             well, let me ask it this way.      Are there any

         9             opinions or conclusions that you would like to

        10             add to that section?

        11      A      Unless something within the body of the report

        12             itself would be interpreted that way as a part

        13             of the report that's not a section labeled

        14             opinions and conclusions, at this point I do

        15             not have anything to add to this.

        16      Q      Let's see.     We're going to go back up to page

        17             seven.     We're really moving now.

        18      BY MR. POULTON:

        19             Yeah, you're doing better.

        20      BY THE DEPONENT:

        21             I'm trying to do my part.

        22      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        23      Q      So on page seven it looks like at the top

        24             there are two blocks of text that follow a

        25             sentence that says, "The following initial



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         1             information is used for purposes of analysis

         2             in this matter."    My question is -- or do you

         3             see that, first of all?

         4      A      Yes, sir.

         5      Q      My question is, does that mean that you took

         6             the facts in those paragraphs to be true when

         7             writing your report?

         8      A      True is a tricky word.     That's why I put up

         9             there utilized for purposes of analysis so

        10             that there's something to comment on or a

        11             baseline point from which to work.       I am aware

        12             of some of this through living in that

        13             general, you know, West-Central Florida area

        14             for a while, so I know what the roads are that

        15             go through there.    You understand what I mean?

        16             I'm not -- I would certainly defer to any fact

        17             witness.    And if you represented to me that,

        18             you know, the agency doesn't have a certain

        19             thing then that would be a matter of a fact

        20             witness coming forward to say whether they do

        21             or not, but (pause) ---

        22      Q      Sure.   But is it fair to say that for your

        23             report you assumed those items to be true?

        24      A      Yes.

        25      Q      So in footnote one, after the first block of



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         1             texts that we're talking about, it says you

         2             cited to U.S. Census and other sources.       What

         3             are those other sources?

         4      A      I think the Pasco Chamber of Commerce, and

         5             that's going from memory.     But since as you

         6             see we're talking about general demographic

         7             and geographic description type information.

         8             That's what I recall that I utilized.

         9      Q      Anything else that you can recall?

        10      A      No.

        11      Q      In the second block of texts it looks like to

        12             me that you list -- is it fair to say that

        13             these are facts about the Pasco Sheriff's

        14             Office?

        15      A      Yes.

        16      Q      And then in footnote two you cite to the Pasco

        17             Sheriff's Office official website; is that

        18             correct?

        19      A      That is correct.

        20      Q      Do you have any other grounds besides the

        21             PSO's website for believing those facts are

        22             true?

        23      A      Some parts of this, again, just from my

        24             knowledge, Central and West-Central Florida

        25             criminal justice and policing over time.        So



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         1             to get down into specific ones about when some

         2             aspect of it started or didn't start I would

         3             absolutely defer to their website or to their

         4             30(b) witness or whoever they have.

         5      Q      Well, so -- I mean, but for the purpose of

         6             writing the report I guess my question is did

         7             you reference anything besides Pasco Sheriff's

         8             website?

         9      A      I don't see that I referenced anything else

        10             here.

        11      Q      And then pages seven to eight.      Again, there's

        12             sort of three blocks of texts which they may

        13             be quotes.     I'm not -- or they just might be

        14             offset.     I can't -- not sure.   And then it

        15             cites footnote three for -- for them.       And I

        16             believe footnote three cites also to the Pasco

        17             Sheriff's website.     Do you see that?

        18      A      Yes, sir.

        19      Q      And again, just the same -- same question just

        20             to be thorough.     Did you refer to any other

        21             sources besides the website in coming -- in

        22             writing those blocks of text?

        23      A      Not that I can recall, no.

        24      Q      Now, on page -- on page eight in the middle

        25             there's a block quote.     Do you see that?



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         1      A      I do.

         2      Q      I don't see a citation for that quote.       Where

         3             did you get that quote?

         4      A      Given that that is offset single spaced and in

         5             quotation marks that's probably going to come

         6             from the manual, but we have to probably look

         7             and find it.

         8      Q      On page nine you say, "But in the last 0 to 60

         9             years academic researchers and entrepreneurial

        10             law enforcement agency administrators have

        11             experimented with techniques and programs that

        12             go beyond response to 911 calls."       Do you see

        13             that?

        14      A      I do.

        15      Q      I'm going to refer back to an exhibit we spoke

        16             about a little earlier, and I'm trying to go

        17             -- let's see, A, B, C, D, E.      I believe it

        18             would be Exhibit E.    So is it your

        19             understanding that the book Beyond 911 that we

        20             spoke about earlier in Exhibit E involves the

        21             same topic that you are referencing in the

        22             first sentence that I just read here that

        23             says, "Programs that beyond response to 911

        24             calls"?

        25      A      That would certainly be one of the -- one of



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         1             the sources.

         2      Q      On page 10 you quoted work from -- I think

         3             it's Loughran, or Loughran (different

         4             pronunciation), Paternoster and Weiss which

         5             says ---

         6      BY MR. HOUSE:

         7             And for the court reporter, I don't know if

         8             you can see it but the first name that I

         9             butchered is L-O-U-G-H-R-A-N.

        10      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        11      Q      And it says -- the quote says, "The body of

        12             research suggests policing strategies that are

        13             focused on particular geographic areas or

        14             offenders are effective in deterring crime."

        15             Do you see that?

        16      A      I do.

        17      Q      What policing strategies are they referring

        18             to?

        19      A      I don't recall.

        20      Q      Later on page 10 you say -- later on page 10

        21             we're saying -- or it says, "Interacting with

        22             a subject with the hope of gaining compliance

        23             can be blocked by the behavior of the subject,

        24             as in the instant case."     Do you see that?

        25      A      I do.



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         1      Q      By instant case do you mean Taylor versus

         2             Nocco?

         3      A      That's correct.

         4      Q      What does the term subject mean there?

         5      A      Individual.   A person.

         6      Q      And so this sentence means that interaction

         7             with an individual can be blocked by that

         8             individual; is that correct?

         9      A      That is correct.

        10      Q      Now, if the individual refuses to speak to an

        11             officer is that a form of blocking?

        12      A      It can be, yes.

        13      Q      If the individual refuses to give information

        14             to the officer is that a form of blocking?

        15      A      Yes, it can be.

        16      Q      If the individual refuses to speak to an

        17             officer without a lawyer is that a form of

        18             blocking?

        19      A      It certainly could be.

        20      Q      What does -- well, does graining compliance in

        21             this sentence mean getting an individual to

        22             speak to an officer?

        23      A      It certainly can.    This is a broader statement

        24             about interacting with people.      And so it

        25             certainly may be you're asking me a question



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         1             and in one way or another I'm unresponsive to

         2             that.    I may be blocking the communication.

         3      Q      The next sentence says, "Each of the documents

         4             and individual investigative efforts in the

         5             case represent the information-gathering

         6             expected and routinely seen during cases with

         7             any potential or actual repeat prolific

         8             offender, such as the instant one."       So you

         9             see where it says that?

        10      A      I do.

        11      Q      And again, when you say "the case" in that

        12             sentence and "the instant one," both of those

        13             terms refer to Taylor versus Nocco; is that

        14             right?

        15      A      Yes.

        16      Q      When you say investigative efforts in that

        17             sentence do you -- do you include a traffic

        18             stop to preform a prolific offender check?

        19      BY MR. POULTON:

        20             Object to the form.    Go ahead.

        21      BY THE DEPONENT:

        22             If that was something that some officer

        23             utilized in some aspect of this matter and in

        24             furtherance of this kind of program I -- I

        25             don't recall a specific one and I don't



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         1             necessarily recall from the manual that that

         2             was a directed specific technique.        So I'm not

         3             sure because I don't know -- if you represent

         4             to me kind of that's what happened and that

         5             was in the manual as something that's

         6             instructed, that -- then I would probably

         7             agree with that.

         8      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         9      Q      Sure.    And perhaps -- you know, maybe that's a

        10             fact in contention and I understand you

        11             emphasize you're not here to take a position

        12             on facts.    But let's assume for the sake of my

        13             next question that traffic stops to perform

        14             checks do happen.     Your statement says that

        15             the information gathering is expected and

        16             routinely seen during cases.        So my question

        17             would be, again, assuming that traffic stops

        18             to do prolific offender checks are occurring,

        19             have you seen traffic stops performed for

        20             prolific offender checks anywhere else besides

        21             Pasco?

        22      BY MR. POULTON:

        23             Object to the form.     Go ahead.

        24      BY THE DEPONENT:

        25             Again, I'm not aware of it in Pasco.        So



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         1             hopefully you're aware by now I'm blocking you

         2             but I don't know about having something to say

         3             anywhere else but in addition to Pasco because

         4             I'm not aware that that was a guided function

         5             or task that is in the intelligence-led

         6             policing program.     So I'm not -- I'm not aware

         7             as I sit here right now of any ILP which,

         8             again, my knowledge isn't exhaustive, that

         9             says find people in traffic and stop them to

        10             have a interaction.

        11      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

        12      Q      And again, just to make sure my -- because

        13             again, I can see my question wasn't clear.

        14             Putting Pasco aside, do you know of any

        15             program outside of Pasco that does the thing

        16             that I said that does traffic stops to perform

        17             checks?

        18      A      Not that I'm aware.

        19      Q      And then, again, when you say investigative

        20             efforts in this sentence do you mean the use

        21             of an algorithm to catagorize certain repeat

        22             offenders?

        23      BY MR. POULTON:

        24             Object to the form.

        25      BY THE DEPONENT:



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         1             What I was referring to there was broadly what

         2             lawful methods were used.     That could be,

         3             again, the home visits and certainly could be

         4             social network analysis or just the various

         5             efforts that either this agency or any other

         6             agency take to try to gather information.

         7      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         8      Q      Sure.     And I guess -- and then maybe -- again,

         9             maybe I'm not using the right terminology

        10             here.     But when I'm asking about what those

        11             investigative efforts might be my question is

        12             does the use of an algorithm to categorize

        13             certain repeat offenders constitute one of

        14             those investigative efforts?

        15      A      What typically would be seen, and so that's

        16             the only way I can answer this, I'm not aware

        17             that in Pasco that it's strictly based off an

        18             algorithm as opposed to analysis and handling

        19             by an analyst and again what -- what the

        20             factors are that go into that to nominate

        21             whatever the pool or population of people are

        22             that may get further consideration in the

        23             program.     Yeah, that -- that sort of use of

        24             data analytics has certainly become more

        25             common.



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         1      Q      Where else have you seen that use of data

         2             analytics?

         3      A      Sitting here independently trying to think of

         4             an agency where that's specific used, I'm not

         5             able to do that.    We've seen a proliferation

         6             of articles and books within criminology and

         7             criminal justice and vary under disciplines --

         8             various other disciplines, rather, to, you

         9             know, kind of highlight some of those.       So

        10             again, it's -- it's a well documented now

        11             increasing trend, but I can't sit here and

        12             tell you that city or county X, Y, Z is

        13             utilizing any particular algorithm.

        14      Q      Sure.   What articles are you referring to?

        15      A      Again, just the things as I mentioned to you

        16             earlier, that I am a wash in on a daily basis

        17             whether it's teaching a policing class or an

        18             investigative class or, you know, just the

        19             casual reading that someone does.

        20      Q      Sure.   Can you provide just a name of on of

        21             the articles?

        22      A      Nope.

        23      Q      And can you provide a book that you were

        24             referring to two answers ago?

        25      A      No, because as I told you there's nothing else



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         1             in here that I wouldn't have cited that I

         2             specifically took something from.

         3      Q      When you say investigative efforts here does

         4             that include putting repeat offenders on a

         5             list without their knowledge?

         6      A      Again speaking broadly and not about this

         7             particular case, whether someone is on a

         8             repeat offender list, A, they know they're a

         9             repeat offender, B, they know they're in

        10             official databases as having committed

        11             offenses.     So whether I recall again an

        12             article or a book where I saw a sentence that

        13             says and there's lists of these repeat

        14             offender and the people don't know about it,

        15             I've never seen that.     That wouldn't make a

        16             lot of sense to me.

        17      Q      And you say -- and you say again that these

        18             investigative efforts are routine.       Do you

        19             have any other -- any other particular

        20             locations where these databases you just

        21             referred to are used?

        22      A      Yes.

        23      Q      Where else?

        24      A      Every single county, state, municipality in

        25             the U.S. has access to the state crime



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         1             database and NCIC, the National Crime

         2             Information Center, which contains criminal

         3             records of those people who have been arrested

         4             and convicted or -- and/or just arrested.

         5      Q      Are you familiar with any other agency that

         6             uses those records to create a top five list?

         7      A      Specific -- specifically I'm not aware of what

         8             the -- then we'd have to add in in addition

         9             kind of municipal and county.      The others

        10             probably would get us up to about 25,000

        11             separate agencies.    I don't know what the

        12             various agencies refer to their particular

        13             framework of how they attempt to track those

        14             individuals disproportionately involved in the

        15             most crime.

        16      Q      When you say investigative efforts does that

        17             mean -- well, actually, let me -- let me ask

        18             it this way.   So you referenced a data base in

        19             your recent answers using criminal history.

        20             Is that an accurate -- is it a criminal

        21             history database?    Is that an accurate way of

        22             framing it?

        23      A      That's what it is referred to as.

        24      Q      So are you aware of any investigative efforts

        25             that involve using the criminal history



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         1             database to create a separate list of repeat

         2             offenders used by agencies?

         3      A      Well, I mean, this case, as I recall in the

         4             2018 manual they're using within Paco County

         5             data, and I can't recall whether they actually

         6             utilized when this matter would be either the

         7             Florida Crime Information Center or the

         8             National Crime Information Center.       So again,

         9             a I answered about the top five how -- you

        10             know, if there was a house police department

        11             how the agency members and house police

        12             department decided they were going to

        13             accomplish that would be unique and up to

        14             them.   So I'm not aware of specific individual

        15             parameters of any particular agency.

        16      Q      Yeah, and I think you sort of got to my

        17             followup question but again I have to ask it

        18             just -- just for the record.      So you're not

        19             aware of a particular agency outside of Pasco

        20             that uses a criminal history database to

        21             create a separate list of repeat offenders?

        22      A      Not currently.

        23      Q      When you say investigative efforts in that

        24             sentence do you mean the use of home visits to

        25             check on previous offenders?



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         1      A      Yes, that would be one of those.

         2      Q      And you say that this is expected and routine.

         3             Where else besides Pasco have you seen the use

         4             of home visits to check on certain routine

         5             offenders?

         6      A      As I mentioned earlier, this -- the practice

         7             itself, whether it was repeat offender squad,

         8             certainly probation and parole.      That's a

         9             mainstay of how that's -- how people monitor

        10             those who are on that kind of a caseload.

        11      Q      Sure.    With parole and probation -- and again,

        12             correct me if I'm wrong.     Parole and

        13             probation, I could be on parole -- someone

        14             could be on parole or probation even if

        15             they've only committed one offense; is that

        16             right?

        17      A      That is correct.

        18      Q      So I guess my question is, again, are you

        19             aware of anywhere where of any -- excuse me.

        20             Are you aware of any agencies where they use

        21             home visits to check in on repeat offenders?

        22      A      So let's, yeah, get this clear on the

        23             question.

        24      Q      Yeah.

        25      A      Even though a we know probation and parole can



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         1             be one offense and people come to your home on

         2             all hours of the day and night on a frequent

         3             basis, we're very well aware of that.       For

         4             repeat offenders, again, that may be probation

         5             and parole, or that could be a program such as

         6             the one in Pasco.      Sitting here today

         7             independently right now I cannot name another

         8             specific agency that is utilizing that as part

         9             of their approach.

        10      Q      And then when you say investigative efforts

        11             here does that include the use of code

        12             enforcement citations to get a subject to

        13             answer an officer's questions?

        14      A      As you asked that a couple of hours ago the --

        15             I'm not aware, first of all, either in this

        16             case or in specifically any other agency where

        17             someone is utilizing, as you're representing,

        18             the threat of code enforcement to speak.          I'm

        19             not aware of that.

        20      Q      On page 13 of your report.      Skipping down a

        21             bit.   Near the top.     You say, "Innovative

        22             policing approaches, such a the PSO

        23             Intelligence-Led Policing approach, takes,

        24             'the statistical analysis of large amounts of

        25             historical data and serve to anticipate new



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         1             crime events or phenomena.'"      Do you see that?

         2      A      I see that.

         3      Q      What does innovative in that sentence mean?

         4      A      Something that -- and I'm just going to give

         5             you the caveat that this is in general.

         6             Things that others may not be doing or you may

         7             be doing sooner than others or attempting

         8             something.

         9      Q      And then just to get the quote clear here.

        10             Later on in that sentence where you say, "The

        11             statistical analysis of large amounts of

        12             historical data and serve to anticipate new

        13             crime events or phenomena," is the -- that

        14             sentence that I just read, or that portion of

        15             the sentence, is that what you are saying in

        16             the sentence is what the PSO intelligence-led

        17             policing approach does?

        18      A      Well, prior -- immediately prior to that

        19             section in quotation marks the clause that I'd

        20             written says "such as the PSO intelligence-led

        21             policing approach," and that the quote is

        22             applied to say using the analysis of data to

        23             anticipate new crime events or phenomena,

        24             which would be the language of the authors

        25             that I cite to.



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          1      Q      Sure.   Let me -- and just again, because I'm

          2             -- again, I'm trying to nail down exactly what

          3             the sentence needs.    Let me rephrase it and

          4             you can tell me if I have it wrong -- or let

          5             me rephrase my question.     How about that?

          6             Does the PSO intelligence-led policing

          7             approach take statistical analysis of large

          8             amounts of historical data and serve to

          9             anticipate new crime events or phenomena?

         10      BY MR. POULTON:

         11             Object to the form.

         12      BY THE DEPONENT:

         13             And as I responded earlier, I defer to the

         14             fact witnesses from the Pasco Sheriff's Office

         15             to speak about the mechanisms and algorithm

         16             and specific factors that they utilize in

         17             arriving at their actionable intelligence.       So

         18             that's -- that's not intended to make that a

         19             specific I am saying what they do.

         20      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         21      Q      Sure.   And again, I totally understand that

         22             you said you're not here to give fact, but I'm

         23             trying to nail down what the sentence or

         24             report means.   Let me reask that.     For the

         25             purposes of the report and for the -- you



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          1             know, you know, the documents you reviewed to

          2             write the report, did you understand the PSO

          3             intelligence-led policing approach to take

          4             statistical analysis of large amounts of

          5             historical data and serve to anticipate new

          6             crime events or phenomena?

          7      A      Well, to similarly try to clarify, as I

          8             appreciate that you just did, it is no more

          9             nor less of analyzing the data that you do

         10             have to try to have some insights into, you

         11             know, future crime or deterring people.

         12      Q      Let me -- I'll try to ask the question again

         13             because -- so just reading this sentence.       I'm

         14             trying to nail down the meaning of the

         15             sentence.   Does the sentence mean that the PSO

         16             intelligence-led policing approach is an

         17             approach that takes statistical analysis of

         18             large amounts of historical data and serve to

         19             anticipate new crime events or phenomena?

         20      BY MR. POULTON:

         21             Object to the form.    Go ahead.

         22      BY THE DEPONENT:

         23             The reason I would defer that to the fact

         24             witnesses three times, even though I wrote

         25             part of the sentence and used a quote for the



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          1             rest is, again, you may see it as dodging a

          2             question or an answer.    I see it as

          3             responsible witnessing.     I can't say what

          4             large amount of historical data --

          5             semantically what that would mean.      What I've

          6             said to try to clarify three times now is that

          7             analyzed data to try to foresee events or

          8             phenomena -- crime events or phenomena.        Past

          9             that, that was my intent.     So I'm telling you

         10             what I intended with that sentence.      A fourth

         11             asking of it I can't reinterpret it any

         12             further.

         13      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         14      Q      Sure.   And I guess maybe perhaps the confusion

         15             here is, again, I'm not asking you to opine

         16             factually on what happened in Pasco County.

         17             You've already said -- you made clear you're

         18             not giving a factual interpretation of what's

         19             going on.   I'm just trying to figure out for

         20             the purpose of the report does the PSO

         21             intelligence-led policing approach, as you

         22             understood it in writing the report, takes

         23             statistical analysis of large amounts of

         24             historical data and serve to anticipate crime

         25             events or phenomena.



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          1      BY MR. POULTON:

          2             Object to the form.

          3      BY THE DEPONENT:

          4             This is one of the problems with -- which is

          5             inherent.    I trust you as an experienced

          6             attorney know this as well as I do.      In trying

          7             to get at this is that retrospectively trying

          8             -- for me to try to reinterpret something that

          9             places you in my answer, you just said, oh,

         10             that's not what I'm asking you but I am asking

         11             you is that what you meant, and I'm saying to

         12             you what I meant was they analyze data in

         13             their efforts to determine crime events or

         14             phenomena.    So I found a supporting reference

         15             to how some of this is done.     I cannot, I will

         16             not say what amounts.    So that's the limits of

         17             what ---

         18      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         19      Q      Sure.   And, again, I understand that.        And

         20             here again, let me -- let me just be pretty

         21             transparent here is there are typos -- at

         22             least apparent typos in the sentence.         I don't

         23             know if they're yours or in the quote.         The

         24             sentence is not written very well.      And

         25             obviously if I am going to, you know, cross-



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          1            examine you at trial I want to make sure I

          2            know what it is that's in your report before I

          3            cross-examine you.     So I'm not trying to get

          4            you to say or reinterpret anything that the

          5            sentence doesn't.     I'm trying to nail down the

          6            grammatical structure of this sentence because

          7            it's not written totally well.       And again, I'm

          8            not saying the typos are yours.       I think the

          9            typos might have been in the quote.       So I'm

         10            just trying to rephrase the sentence for

         11            grammatical clarity, and that's why I'm

         12            belaboring this.     So if you'll excuse me

         13            repeating the question one more time.        I'm

         14            going to -- I'll give it another shot.        Again,

         15            does this sentence mean that the PSO

         16            intelligence-led policing approach as --

         17            again, as you understood when writing this

         18            sentence, takes the statistical analysis of

         19            large amounts of historical data and serve to

         20            anticipate new crime events and/or phenomena?

         21      BY MR. POULTON:

         22            Object to the form.

         23      BY THE DEPONENT:

         24            Again, yeah, good grammar and your grammar or

         25            mechanics commentary notwithstanding,



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          1             innovative policing can be trying something

          2             different.    How PSO uses their particular

          3             flavor of intelligence-led policing to my

          4             understanding involves analyzing data and that

          5             serves to anticipate new crime.      And I'm

          6             using, of course, a quote to try to show, you

          7             know, support for that's one of the things

          8             that are done.     Analyzing that amount.      So

          9             yeah, as to grammar, I'm going to be willing

         10             to bet a dollar that the court is not going to

         11             necessarily going to pick at my grammar.

         12      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         13      Q      No, but that actually helped a lot and I

         14             appreciate you giving, you know, a

         15             clarification in that -- in the answer.         So

         16             turning to -- I guess remaining on the same

         17             page.   It says here that -- oh, you know what?

         18             Real quick.   Actually that same sentence we

         19             were talking about, the footnote 21.        It cites

         20             footnote and footnote 21 is a -- I believe

         21             it's a journal article from Hardyns and

         22             Rummens; is that correct?

         23      A      That is correct.

         24      Q      And the title of the journal article is

         25             Predictive Policing as a New Tool for Law



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          1             Enforcement; is that correct?

          2      A      That is what it lists, as well as the subtitle

          3             Recent Developments and Challenges, yes.

          4      Q      Yeah, thanks.    On page 14 it looks like you

          5             quote a large passage from a book and say,

          6             "Though not mentioned in the above summary" --

          7             sorry, that's right here.     "Though not

          8             mentioned in the above summary, Plaintiff's

          9             expert in this matter, Professor Kennedy,

         10             assets a central role in the project."       Do you

         11             see that?

         12      A      I'm trying to see if that was from -- yeah,

         13             that was from a book.     Yes, I see it.

         14      Q      Do you have any reason to doubt that Professor

         15             Kennedy played a central role in the project

         16             cited by that passage?

         17      A      I have no reason to think that.

         18      Q      On page 15 ---

         19      BY MR. HOUSE:

         20             Well, you know what?     Before we go to page 15,

         21             we're about to hit lunchtime.     Do you want to

         22             take a break, Tom, or ---

         23      BY MR. POULTON:

         24             No, I would really like to if you don't mind,

         25             because I need to run down -- it seems like



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          1             we're going a lot faster than we were before,

          2             so maybe you feel more comfortable with that

          3             now.

          4      (OFF THE RECORD)

          5      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

          6      Q      Professor Hough, so I'll share my screen

          7             again.    I think we're at page 15 of your

          8             report.    Can you see my screen?

          9      A      Yes.

         10      Q      Great.    So I highlighted -- I have a sentence

         11             here that says, "While target-hardening

         12             against crime by individual citizens may be

         13             effective, it is not widely found in most

         14             communities."    Do you see that?

         15      A      Yes.

         16      Q      What is target-hardening?

         17      A      Making it more difficult for someone to commit

         18             a crime against you or against your property.

         19      Q      And how might -- what is one way that target-

         20             hardening may be preformed?

         21      A      Well, an example often given would be your

         22             personal home.    Making sure you utilize

         23             deadlocks, trim back bushes from around your

         24             windows and doors, have exterior lighting.

         25             Things of that nature to make it more



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          1             challenging for someone who might think of

          2             your house as a target and in all likelihood

          3             would go somewhere else then.

          4      Q      Now, from the documents that you've reviewed

          5             in writing this report do you know if the

          6             Pasco Sheriff's Office was performing target-

          7             hardening?

          8      A      Well, I understood in the sentence that I

          9             wrote that's individual citizens is what I'm

         10             referring to.

         11      Q      I get it.     I get it.   So it's -- reading the

         12             sentence it's, "Target-hardening against crime

         13             by individual citizens."      In other words, it's

         14             the citizens doing the hardening; is that

         15             right?

         16      A      Yes.

         17      Q      Now, later on in that same page you say that,

         18             "According to a RAND Corporate study, the main

         19             objectives of the approach," and then after

         20             that quote you list what looks like three

         21             objectives.     What is, quote, "the approach",

         22             end quote, that you are referring to in that

         23             sentence?

         24      A      Let me go back to figure it out.

         25      Q      Sure.



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          1      A      "Various data-driven policing strategies to

          2             leverage information using the algorithms to

          3             focus those limited resources."

          4      Q      You then say, "In the early-ish years of such

          5             policing, scholars, citizens and practitioners

          6             look to the lessons of other disciplines using

          7             data-based prediction to guide the inevitable

          8             debate around ethics and transparency."       Do

          9             you see that?

         10      A      Yes.

         11      Q      Is there a debate around ethics and

         12             transparency?     Let me -- let me rephrase it.

         13             I'm sorry.    Just again, for the purposes of

         14             the sentence here that I just read, is there a

         15             debate such as the one you refer to in the

         16             sentence about ethics and transparency?

         17      A      Yes, I believe so.

         18      Q      What is being debated in that debate?

         19      A      I'm not a participant or someone in-depth in

         20             the debate.     The questions that always arise

         21             in public policy would include whether, as the

         22             second point, transparency exists in some

         23             particular policy and its construction and

         24             implementation.     And then ethically, depending

         25             on where someone sits or stands, viewing



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          1             whether some group or individual believes that

          2             some governmental action may not be fully

          3             ethical.

          4      Q      Let's go down to page 19.     Let's see here.     On

          5             page 19 your report says, "Deputies at the

          6             Pasco Sheriff's Office are expected and

          7             instructed to act within the law, agency

          8             policy, and contemporary training."      Do you

          9             see that?

         10      A      I do.

         11      Q      Now, I don't see a footnote for that sentence.

         12             I'm wondering on what -- well, let me ask the

         13             question this way.     What source do you have

         14             for that statement that I just read?

         15      A      We have to look in the appendix, but any --

         16             any of the policies that they have existing,

         17             plus that is the admonition of what agencies

         18             must do, and so in the general orders and

         19             policies.     That also goes with accreditation.

         20             So we'll have to go, as I said, to the

         21             appendix of the documents.     I see the IP

         22             directives.     Since most of -- and then, of

         23             course, the manuals, and then a lot of

         24             referencing of just defendant.

         25      Q      If I were to look for -- again, referring to



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          1             the sentence I read.     If I were to look for --

          2             and this might be similar to the answer you

          3             just gave me, but here's the question.       If I

          4             were to look for what deputies are expected

          5             and instructed to do, would I look for the

          6             information in the appendix that you just

          7             cited?

          8      A      No.   A person would look in the policies and

          9             procedures of any given agency, as well as

         10             Florida state statutes.

         11      Q      And is it your understanding that insofar as

         12             Pasco is concerned that the plaintiffs have

         13             been provided all of the things on which you

         14             would based that statement?     And when I say

         15             things, I'm sorry.     Let me ask the question.

         16             Is it your understanding as you -- let me

         17             rephrase that.   The sentence that I read which

         18             refers to Pasco Sheriff's Office and what

         19             deputies are expected and instructed to do, is

         20             it your understanding that the documents on

         21             which you base that have also been provided to

         22             plaintiffs in this case?

         23      BY MR. POULTON:

         24             Object to the form.     Go ahead.

         25      BY THE DEPONENT:



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          1             Yeah, I'm not either aware nor responsible for

          2             whatever documents plaintiff has received.

          3      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

          4      Q      And we kind of talked about this earlier.

          5             It's your understanding that the documents on

          6             which you base that would be cited somewhere

          7             in the report either in a footnote or the

          8             appendix; is that right?

          9      A      No, not -- not necessarily.     Because again,

         10             out of the hundreds and hundreds of agencies,

         11             policies and general procedures that I've

         12             examined, those are contained within, as I've

         13             testified to a minute ago, policy and

         14             procedure.     Contemporary training is certainly

         15             the academy training that I referred to

         16             already.     The law is what the law is.    So the

         17             issue comes down, I guess, to your asking

         18             about agency policy.     So what you've obtained

         19             from the agency in regards to its policy what

         20             I've examined, you know, online about their

         21             policy or cited here within the report is --

         22             is in general what I'm referring to.

         23      Q      And I'll again just rephrase it just to make

         24             it clear for the record, because I think you

         25             did answer this earlier.     To the extent you



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          1             relied on any documents in writing that

          2             sentence, those documents would be cited in

          3             that report; is that correct?

          4      A      As well as my knowledge of policies and

          5             procedures within the state of Florida for law

          6             enforcement agencies.

          7      Q      Sure, but then you would be -- in that case

          8             you'd be relying on your knowledge rather than

          9             on the documents; is that right?

         10      A      My knowledge based on documents.      I've done, I

         11             think, the only comprehensive survey research

         12             of the state of Florida agencies in regards to

         13             both use of force and homicide investigative

         14             methodologies.   So we can spend as much time

         15             as you want here.     I don't know what those

         16             defendant document ones were.     I had to look

         17             each one of them up as I opened them to read

         18             them.   I don't independently recall as a

         19             memory test which things were and were not in

         20             those things cited in Appendix A with the

         21             documents but, yeah, I'm referring to what are

         22             in agency policies.

         23      Q      So again, the -- and I'm only going at this

         24             because I think it's contradicting, at least

         25             to my mind, maybe something that said earlier,



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          1             although I'm not sure.     So you're saying that

          2             in writing this sentence it is possible that

          3             you referred to documents that are not cited

          4             in this report; is that right?

          5      A      That's possible.     And instead it's my

          6             knowledge of the policies and procedures of

          7             agencies throughout the state.

          8      Q      As you sit here now can you give me the name

          9             of a possible document to which you would

         10             refer in writing that sentence that is not

         11             cited in the report?

         12      A      The general orders of the agency -- go ahead.

         13      Q      No, sorry.     Go ahead.

         14      A      I was going to say specifically I don't know

         15             which one.     It's generally the first general

         16             order in the policies and procedures or

         17             something up close there, as well as Florida

         18             accreditation standards calling for it, as

         19             well as the swearing in document for every

         20             deputy sheriff.     Again, we can spend as much

         21             time as you want on this.     This is

         22             unbelievably utterly what agencies do and

         23             cannot be contested by anybody.      But please

         24             keep asking.

         25      Q      Where can I find those documents that you just



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          1             referred to?

          2      A      Pasco Sheriff's Office.

          3      Q      So the Pasco Sheriff's Office would have those

          4             policies.   Are there any -- are there any

          5             documents that are not within the -- that you

          6             believe would not be in the possession of the

          7             Pasco Sheriff's Department that you would

          8             refer to in writing that sentence?

          9      BY MR. POULTON:

         10             If I might interject here just ---

         11      BY MR. HOUSE:

         12             Yes.

         13      BY MR. POULTON:

         14             --- to try to help move this along, and I

         15             don't ---

         16      BY MR. HOUSE:

         17             Sure.

         18      BY MR. POULTON:

         19             If you want -- if you want to let him answer

         20             first, and then I can -- so that you don't

         21             interpret it as a speaking objection.       But I

         22             think I know where the problem is if you want

         23             him to go ahead and answer first.

         24      BY MR. HOUSE:

         25             No, you can -- you can go ahead, Tom.       I think



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          1            you know ---

          2      BY MR. POULTON:

          3            Part of this is that every agency is going to

          4            have in its policies a statement that

          5            deputies, or officers as the case may be, must

          6            act within the law.     They have to act in good

          7            faith compliance with any agency -- specific

          8            agency policies and procedures.       They're also

          9            going to be trained on that at the academy.

         10            And it's -- it's -- well, you know, it's

         11            incumbent -- it's incumbent in Monell sense

         12            for you to identify a policy or a custom

         13            that's going to deviate from that.       And I --

         14            and I think that that ---

         15      BY MR. HOUSE:

         16            So I think you're reading way too much into

         17            what I'm asking.    I'm just -- I'm literally

         18            just trying to get what the universe of

         19            relevant documents that I need to research is.

         20            And so I understand the witness to be saying

         21            that there are documents this statement that

         22            have not been cited in the report and I'm just

         23            trying to figure out what the documents are

         24            and where I can find them.      It's just a

         25            document review situation.      I am not trying to



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          1             make a substantive point here.      So maybe that

          2             clears it up, Professor.

          3      BY MR. POULTON:

          4             If you want me to -- if you want me to get the

          5             agency to -- an order or policy -- I can't

          6             remember what it's called.     Some general

          7             policy and procedures that, as he said, is

          8             going to usually be in the first one or two

          9             that instructs deputies to act within the law,

         10             I'm happy to do that.

         11      BY MR. HOUSE:

         12             Yeah, that would be -- no, that would be

         13             great.   And again, my question was just if

         14             there are any before that.

         15      BY MR. POULTON:

         16             I'm doing an email as we speak.

         17      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         18      Q      And, Professor Hough, just again, any other

         19             documents besides that one?

         20      A      No, and I was -- yeah, what Mr. Poulton said

         21             just -- just trying to make sure that that's -

         22             - because of the nomenclature, because of the

         23             accreditation and the way that these things

         24             have organically grown over the century it's

         25             just -- that's always right up from that says



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          1             you shall.

          2      Q      It says that you -- later on in that paragraph

          3             it says, "While a retroactive view of an

          4             officer's decision-marking is often officer-

          5             centered, this would fail to appropriately

          6             incorporate an unknown and dynamic thought

          7             process by the subjects involved."      Do you see

          8             that?

          9      A      I do.

         10      Q      Now, you mentioned here a retroactive view of

         11             an officer's decision-making.     What is a

         12             retroactive view?

         13      A      In some sense it can be what we're doing now

         14             but, you know, commentary or examination after

         15             the fact 2020 hindsight, those various things

         16             about looking backwards at what may be the

         17             officer, what he or she decided or did.       And

         18             then the point of the rest of that that you

         19             read, the rest of my sentence was that very

         20             often in a lot of police actions fails to take

         21             into account you the person and what you're

         22             doing, and instead we find just a total focus

         23             on the officer.

         24      Q      What other kinds of views are there besides

         25             retroactive views?



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          1      A      Oh, this wasn't a semantic issue about future

          2             reading or sideways reading or anything.       It's

          3             the point that in legal actions, whether in

          4             criminal court or in a civil matter such as

          5             this, the looking backwards which, of course,

          6             we know the Supreme Court specifically warns

          7             us about in writing different kinds of cases

          8             rather than looking in the instant, you know,

          9             moment of some action, the emphasis of my

         10             writing here was it's often mainly or

         11             exclusively about the officer's decision-

         12             marking as opposed to the Homosapien with the

         13             agency to do whatever it is that he or she

         14             wishes, feels or is compelled to do in the

         15             moment.   So it's -- I see where you're going

         16             where you're looking for some other view that

         17             I wasn't trying to make here about

         18             retroactive.

         19      Q      And I think you might just be reading a little

         20             bit too far into it.    I'm trying to just

         21             define the universe of things to ask about.

         22             And so are there other -- maybe I should

         23             phrase it this way.    Are there other sorts of

         24             views besides retroactive views?

         25      A      And I get it, and I think this is the problem



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          1             we've run into in a variety of aspects of

          2             whether you're not in sync with my writing

          3             style or I have bad grammar and don't express

          4             myself well or whatever it is.      I'm not

          5             writing about the views.     I'm writing about

          6             are we looking at officer decision-making or

          7             the person they're interacting with.

          8      Q      The next -- the next part of that sentence is

          9             you said, it says the view is often officer-

         10             centered.     So when is it not officer-centered?

         11      A      When we take into account the actions of the

         12             individual the officer is interacting with.

         13      Q      Got it.     Are there any other times that it is

         14             not officer-centered?

         15      A      We're taking into account other people who

         16             aren't there.     Yeah, so the point -- and I

         17             understand you're trying to make my sentences

         18             bigger than what they are and you're reading

         19             more into them than what are there.      The point

         20             that I've stated now a couple of times is that

         21             very often there's just a -- if Deputy House

         22             decided to move his car because there were

         23             some people in the street, all we're thinking

         24             about is why did Deputy House move the car

         25             instead of the people in the street.      So the



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          1             point is to take the broader view and

          2             understand that it isn't just ever, you know,

          3             one individual in the interaction here.       You

          4             have to think about the various other people

          5             who might be in the interaction.

          6      Q      In that sentence it says that the view that

          7             we're speaking about, the retroactive view,

          8             "would fail to appropriately incorporate an

          9             unknown and dynamic thought process by the

         10             subjects involved."    Do you see that?

         11      A      I do.

         12      Q      And subjects you stated earlier I think just

         13             means individuals involved?

         14      A      Yes, sir.

         15      Q      So when you say that the individuals have an

         16             unknown and dynamic thought process, what is a

         17             dynamic thought process?

         18      A      It's constantly moving, changing, evolving,

         19             devolving.   Just the fact that each of us, you

         20             know, have a lot going on in our thought

         21             process.

         22      Q      Does that differ at all from normal thought

         23             processes?

         24      A      No, that's pretty much referring to normal

         25             thought process.



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          1      Q      On page 20.   It's the next page.     It says at

          2             the beginning of this -- in the middle of the

          3             page.   It's the first full paragraph.      It

          4             says, "Deputies responding to interact with

          5             individual believed to be at risk of re-

          6             offending acted within the law, their

          7             training, and the policies of the Pasco County

          8             Sheriff's Office."    Do you see that?

          9      A      I do.

         10      Q      What does "deputies responding to interact

         11             with individuals," mean?

         12      A      I think when I wrote that sentence I was

         13             primarily thinking about home visits.

         14      Q      And just focusing on the word responding.        Do

         15             you know -- what are they responding to?

         16      A      The continued picking at the word -- word

         17             selection here, Mr. House.     Just going to,

         18             heading to, set to, thinking to go to.       It's

         19             not anything more than the word responding.

         20             It's however it is that an officer or deputy

         21             ends up interacting with somebody, who in this

         22             sentence would be individuals.

         23      Q      It sounds like responding might have a meaning

         24             in sort of police circles that means those

         25             things; is that -- is that right?



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          1      A      Well, no, not as in like you're responding to

          2             a burglar alarm.   It isn't, yeah, intended to

          3             be someone called and then you responded,

          4             because I don't think the contention here is

          5             that plaintiff's called to have the deputies

          6             come.

          7      Q      And that's all I was trying to nail down is

          8             whether -- of those two meanings.      And then

          9             when you say in that sentence the deputies

         10             that are responding, which deputies are you

         11             referring to?

         12      A      Any deputies.   I don't have any specific ones.

         13             I don't know of any specific ones.

         14      Q      And you're talking about any PSO deputy; is

         15             that right?

         16      A      Well, I think as I wrote this I was thinking

         17             of whoever was assigned the duties to see the

         18             individuals to be at risk of re-offending.        So

         19             whoever defined within how the PSO, as you

         20             mentioned came up with the individuals who

         21             they were intending to interact with as

         22             potential prolific offenders.     So whichever

         23             deputies, or all of them -- again, deferring

         24             to the fact witnesses on what is the current

         25             schema on who's response.     Who is it that is



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          1             supposed to, or is everybody supposed to.       It

          2             wasn't any more specific than that.

          3      Q      And then just jumping off of where you left

          4             off there.     When you say "individuals believed

          5             to be at risk of re-offending" in that

          6             sentence, are you referring to the individuals

          7             referred -- or sorry, excuse me.      Are you

          8             referring to the individuals designated by the

          9             PSO as, quote, "prolific offenders," end

         10             quote?

         11      A      Yes.     And it may be more expansive than that

         12             because I know that within their approach.

         13             And again, my whole point giving rise to this

         14             of law enforcement agencies anywhere in the

         15             U.S. do not have sufficient resources to

         16             address all the things that might be expected

         17             or desired.     I know that they filter down to

         18             x-amount of individuals to try to devote

         19             resources to.     So to the extent that there's a

         20             narrower band of those who they think to be at

         21             risk of re-offending most.

         22      Q      On page 22 you say, "Once again, the Pasco

         23             Sheriff's Office, through the Intelligence-Led

         24             Policing program under examination here, made

         25             efforts, relying on research and public



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          1             expectation, to address specific property

          2             crimes within their community."      Do you see

          3             that?

          4      A      I do see that.

          5      Q      What research did the PSO rely on?

          6      A      The variety of things that were cited within

          7             their manuals I know would be a component of

          8             that, and I just don't recall among either two

          9             or three versions of the manual, or I may also

         10             be thinking of the three page prolific

         11             offender definition.    But in the -- in the

         12             development -- or ongoing, I should say,

         13             evolution, as well as the development of the

         14             ILP and whatever all they do, which I know

         15             exceeds I think just the one thing we're

         16             talking about today.    I'm just referring to

         17             their research.   So beyond what's cited in the

         18             documents I've cited to it would be whatever

         19             the fact witnesses speak to.

         20      Q      And as you sit here today do you know if any

         21             of that research is peer reviewed?

         22      A      Well, certainly the documents that they refer

         23             to with Professor Ratcliff.     And I'm just --

         24             again, unless we have those here and could

         25             check them, I'm not sure what other items are



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          1             in their referred list.

          2      Q      Also in that sentence it says they relied --

          3             it says "relying on research and public

          4             expectation."    Do you see that?

          5      A      Yes.

          6      Q      How do you know that they relied on public

          7             expectation?

          8      A      Well, this is for me, once again, a broader

          9             understanding of being involved in American

         10             policing for more than 40 years and media

         11             expectations or the -- the articulation of

         12             public expectation through media, through

         13             advocacy groups, just in all ways through the

         14             election of public officials, etcetera.       So

         15             not pointing to like a survey that I'm aware

         16             of or sum specific one time forum of public

         17             expectation.    So that's -- that's a broad

         18             general statement of what the public expects.

         19      Q      And how would you know if PSO, or any other

         20             agency for that matter, was not operating in

         21             reliance on public expectation?

         22      A      Again, I appreciate the question.      I would

         23             find that almost an other worldly alien

         24             language that you're speaking about an elected

         25             public official, a sheriff, funded by another



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          1             group of elected public officials, the County

          2             Commission, being elected and re-elected and

          3             continuing on if there were no public

          4             expectation that you are working to deter

          5             crime.   If something's presented to me which I

          6             did not see in plaintiff expert report that

          7             says the public doesn't expect crime

          8             deterrence I'm open to it, and that would be

          9             one of those things that I would be -- I would

         10             say, well, we found one county out of 3,000 or

         11             so in the U.S. that doesn't have a public

         12             expectation to deter crime and I -- I'd look

         13             at my opinions again.    But I'm not -- I'm not

         14             looking -- I'm not relying, like I said, on

         15             someone coming in and polling 560,000 people

         16             to see if there are some of them that don't

         17             want crime prevention.

         18      Q      The next -- the next paragraph begins with, "A

         19             review of programs recorded by the

         20             International Association of Chiefs of Police

         21             under the rubric of focused deterrence speak

         22             exclusively to violent personal crime."       Do

         23             you see that?

         24      A      I do.

         25      Q      Is this a complete review of programs?       Let me



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          1             rephrase that.     Are there any programs

          2             recorded by the International Association of

          3             Chiefs of Police under the rubric of focused

          4             deterrence that are not listed here in your

          5             report?

          6      A      Well, as I said, it's a sampling of programs.

          7             Sampling indicating it's not an exhaustive

          8             list.

          9      Q      Got it.     So, yes.   So the list that you

         10             provide here is not exhaustive?      That's all --

         11             that's ---

         12      A      Yes, sir.     Yes, sir.

         13      Q      Are you aware of any police department that

         14             uses, quote, "focused deterrence," end quote,

         15             on property crime besides the PSO?

         16      BY MR. POULTON:

         17             Object to the form.

         18      BY THE DEPONENT:

         19             Well, this I know will keep -- and it already

         20             has, but will return to us time and time again

         21             because there's no copyright or claim or

         22             definition that is only focused deterrence and

         23             there's only one brand of focused deterrence.

         24             So yes, 18,000 separate law enforcement

         25             agencies use deterrence on property crime.



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          1      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

          2      Q      Sure.     Let me use this list that you provided

          3             here because clearly the International

          4             Association Chiefs of Police is using a

          5             definition or a rubric of focused deterrence

          6             here.     So let's use whatever you reviewed for

          7             the report.     So using that definition, are you

          8             aware of any police departments that used

          9             focused deterrence not on violent personal

         10             crime?

         11      A      Well, using this report that I've cited from

         12             the International Association of Chiefs of

         13             Police what I noted there was that the

         14             sampling of programs comes after pointing out

         15             that the focused deterrence speaks exclusively

         16             to violent personal crime, not to property

         17             crimes.

         18      Q      Let's go to page 27.     It says -- let's see

         19             here.     "A person, even a criminologist, in a

         20             report to the court may not simply start

         21             naming new categories thought of to imply

         22             legitimate scientific method."      Do you see

         23             that?

         24      A      No, but I'm working to find it.      Yes, I've got

         25             it.



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          1      Q      I have it highlighted on my screen.

          2      A      It's too small.   Go ahead.

          3      Q      So and is it -- do you have -- well, is it

          4             your testimony that plaintiff's expert report

          5             in this matter in this matter simply name --

          6             excuse me, simply started naming new

          7             categories?

          8      A      My testimony as pointing at what I've written

          9             in the report is that nobody, not even a

         10             criminologist, can just start adding to the

         11             list of adverse childhood experience, which is

         12             something that actually has its basis in the

         13             study from the CDC and Kaiser Permanente and

         14             just interpolating or saying that being

         15             questioned by police now all of a sudden is a

         16             new category in adverse childhood experiences.

         17      Q      Sure.   So did Professor Kennedy's report say

         18             that -- or let me put it this way.      Did

         19             Professor Kennedy's report add to the list of

         20             adverse childhood experiences?

         21      A      I'm not here to do tit for tat with an expert

         22             or another criminologist and I've tried to

         23             make that clear in the report.      I'm not seeing

         24             anything from the CDC that says they want to

         25             take something from the report in this matter



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          1             and add that now to the list of accepted

          2             adverse childhood experiences.

          3      Q      Sure.    Let me -- let me phrase it this way.

          4             So, I mean, I believe you testified earlier,

          5             but correct me if I'm wrong, that you reviewed

          6             Professor Kennedy's report in this case?

          7      A      I did.

          8      Q      So having reviewed his report did he add any

          9             categories of adverse childhood experiences to

         10             the list that you just referred to from the

         11             CDC?

         12      A      I can't recall verbatim, and how could I, the

         13             specific words that Professor Kennedy used.

         14             We'll certain defer to the court's reading on

         15             some of the things he did say in that section

         16             that regarded adverse childhood experiences.

         17             If you want to pull it up I'm sure I can

         18             scroll to it and find the parts that spoke to

         19             that.

         20      Q      Sure.    But a you sit here today nothing's

         21             coming to mind that he added -- or, excuse me,

         22             as you sit here today there are no categories

         23             that are coming to mind that he added to

         24             adverse childhood experiences; is that right?

         25      A      No, that's not right.    David, I hope you're



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          1             paying close attention listening here.       Yeah,

          2             the wording he utilized within the report

          3             seemed to indicate that some activities within

          4             law enforcement were adverse childhood

          5             experiences.     How well the court raised that

          6             that's an expansion or an attempt at expansion

          7             of an established list by the CDC and others,

          8             that'll be for the court to decide.

          9      Q      And what in particular were those police

         10             activities that you were just referring to?

         11      A      As I testified to, I know Professor Kennedy's

         12             report was similarly somewhat lengthy, so we'd

         13             have to pull it up and try to look and find

         14             those things.     But as I said, it's in the area

         15             where the commentary regarding adverse

         16             childhood experiences was.     My memory test of

         17             what someone else wrote, we saw that it was

         18             difficult to take things that I wrote years

         19             ago in 300 page books and 30 page articles and

         20             try to ---

         21      Q      Sure, yeah.     I mean, and I'll just -- you

         22             know, maybe one more question might help jog

         23             your memory, although maybe not.      But I guess

         24             one way of thinking about it is, so it sounds

         25             like from your report that you do have in mind



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          1             a set of categories of commonly accepted

          2             adverse childhood experiences; is that right?

          3      A      I've referred to the study from Centers for

          4             Disease Control and Kaiser Permanente.        I deal

          5             with and encounter ACE in other cases and in

          6             other settings, so yes.

          7      Q      And then again, just as you sit here today can

          8             you think of any particular way in which

          9             Professor Kennedy's report differs from the

         10             list in those sources?

         11      A      Yes.     As I repeatedly testified to, yes.

         12      Q      And which -- what is -- what is one of those

         13             ways?

         14      A      And as I repeatedly testified to unless you

         15             pull the document up, rather than have me do a

         16             memory test out of the thousands and thousands

         17             and thousands and thousands of pages in this

         18             case as to what specifically how do you phrase

         19             some particular thing, I don't remember.        I'm

         20             sure at trial we can bring the actual document

         21             out since you've seem loath to do so and use

         22             our time here to scroll through and find it.

         23             I don't know.

         24      Q      So you -- yeah, that is fine.     We'll move

         25             along.     On page 28 it says -- at the bottom of



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          1             page 28 it says, "I do not believe a faithful

          2             reading of the Intelligence-Led Policing

          3             manual in its entirety and in context supports

          4             Professor Kennedy's assertion."      Do you see

          5             where it says that?

          6      A      I do.

          7      Q      What assertion are you referencing here?

          8      A      Well, let's try to figure it out together.

          9             Obviously it would have been something that

         10             came before that sentence you plucked out

         11             there.   So let's take a look at the most

         12             recent thing before that.     That if and as the

         13             agency utilizes as a component of their

         14             program knowledge about adverse childhood

         15             experiences that -- and that's, of course, in

         16             quotes from Professor Kennedy, that that

         17             knowledge is used to target children as

         18             destined to a life of crime.     And yes, I go on

         19             from there to point out that in that 80 some

         20             pages manual, whichever is the current one,

         21             and/or the section that just simply deals with

         22             ACE, that in my view the more faithful broader

         23             reading doesn't support that.

         24      Q      Moving on to page 29.    You say, "The use of

         25             home visits by social workers, probation



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          1             officers, parole officers, and others who

          2             maintain a caseload to explore an individual's

          3             activities nothing new.    There remain

          4             circumstances in which staffing is not

          5             consistent to effectively carry out such

          6             visits consistently.    Providing accountability

          7             and monitoring of those assigned such check

          8             ins are still useful to many."      Do you see

          9             that?

         10      A      I do.

         11      Q      So I believe you testified earlier that

         12             probation officers do home visits?

         13      A      Yes.

         14      Q      And I think this sentence is saying that

         15             social workers also perform home visits; is

         16             that right?

         17      A      That's correct.

         18      Q      What do social workers do during their visits?

         19      BY MR. POULTON:

         20             Object to the form.

         21      BY THE DEPONENT:

         22             Well, speaking on behalf of colleagues who do

         23             social work, to include guardian ad litem,

         24             etcetera, folks who are tasked by the court as

         25             representatives for juveniles, they do go to



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          1             homes to determine circumstances in which

          2             children are living.    Child protective

          3             investigators from around the country do the

          4             same thing, where there are family

          5             circumstances or individual circumstances

          6             deemed to have a level of risk that requires

          7             interacting with both the individual who may

          8             be at risk, as well as the family members and

          9             others who may be at or around the home.

         10      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         11      Q      And what do probation officers do during their

         12             home visits?

         13      A      They do a wide variety of things that maybe

         14             also assess the state of what the

         15             circumstances are in the home.      Interact with

         16             people who are at the home, question and speak

         17             with the probationer in regards to his or her

         18             current pursuits, employment, adhering to the

         19             orders of the court, etcetera.

         20      Q      Now, in that first sentence where you say that

         21             the use of home visits, and you list a variety

         22             of officers, to explore an individual's

         23             activities is nothing new.     My question is are

         24             the prolific offender checks that we spoke

         25             about earlier, are you including those in your



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          1             statement of home visits?

          2      A      Yes.

          3      Q      And so where else have you seen prolific

          4             offender checks performed?

          5      A      Starting in probably the 1970s the use of

          6             repeat offender type programs.      I mentioned

          7             this earlier, sometimes this was right out of

          8             prosecutors offices, sometimes out of larger

          9             law enforcement agencies that had the

         10             resources to actually pursue this kind of

         11             program would visit with offenders once they

         12             were no longer under an incarcerated setting

         13             with -- with again the idea decades ago that

         14             as we understand in criminology and just basic

         15             criminal justice that there is minority of

         16             offenders who are responsible for a majority

         17             of criminal offenses.

         18      Q      And so can you name an agency from -- you

         19             know, I think you believe that -- I think you

         20             testified in the 1970s, that performed

         21             prolific offender checks?

         22      A      I'm not sure, but as much a Professor Kennedy

         23             refers to like Professor Mark Moore, Professor

         24             Mark Kleiman and others sitting in the classes

         25             at the Kennedy school and talking about these,



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          1             and that's 30 years ago, in regards to how

          2             these types of programs work and whether there

          3             was the resources, you know, for those, and

          4             the idea about why focus on things that --

          5             economists would call it the parador rule.

          6             This idea that the large amount of some

          7             phenomena, in this case crime, is committed by

          8             the smaller number of individuals, these --

          9             however you want to put them, repeat

         10             offenders, prolific offenders.      The reason

         11             that, as you're aware, legislatures around the

         12             country do enhanced penalties for repeat

         13             offenders in, again, an effort at individual

         14             -- let's call -- I'll call it today focused

         15             deterrence.

         16      Q      Later on in the same page you have a statement

         17             that says, "Regardless, empirical evidence

         18             does not support a categorical contention that

         19             of 'the failed history of attempts to prevent

         20             crime and improve supervisee outcomes through

         21             intensive probation and parole supervision,

         22             or,' quote, 'intensive supervision programs,'"

         23             end quote.    Do you see that?

         24      A      I must have been on the wrong page or else

         25             my ---



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          1      Q      Page 29 -- midway through page 29, the bottom

          2             of the first paragraph.

          3      A      Oh, I see it.

          4      Q      So my question is what empirical evidence are

          5             you referring to in that sentence?

          6      A      Well, let's see if we can -- I'm trying to see

          7             if there's a specific, you know, document.

          8             Because again, my statement covers more than

          9             30 years of teaching college and university

         10             courses in regards to these things.      I'm sure

         11             what the courts experience, which will come to

         12             bear as well, that home visits which are being

         13             used today, as in literally right this moment,

         14             no, I can't tell you what agency is currently

         15             visiting someone's home near you.      The fact

         16             that this -- this is still a mainstay of, as I

         17             said, individuals who carry a caseload to

         18             determine some accountability issues,

         19             probation, parole program such as this

         20             prolific offender one or used innovatively

         21             such as this.   So specific document, once I

         22             see it, you know, cited here in text.       And I

         23             thought -- I thought we did, but ---

         24      Q      Yeah, I mean, I see a citation, but I believe

         25             footnote 52 is just to Professor Kenney's



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          1             report; is that right?

          2      A      It looks as though that was just to his

          3             report.   But then I see -- no, wait a minute.

          4             That may go on -- well, then it goes on right

          5             below where you were -- the next paragraph

          6             where it talks about the one from the National

          7             Institute of Justice to look at probation and

          8             parole home visits.

          9      Q      Yeah, I believe -- well, and I can -- I

         10             suppose I can ask about that.      You mention

         11             knock-and-talks ---

         12      A      Well, that ---

         13      Q      --- at the beginning of that paragraph; right?

         14      A      Yeah, yeah.   No, I was saying that is -- that

         15             program is one of the ones -- or that report

         16             was one of the ones I was looking at.

         17      Q      So at least as far as we're talking about how

         18             you use it in your report, knock-and-talks are

         19             a method of probation or parole supervision;

         20             is that -- is that right?

         21      BY MR. POULTON:

         22             Object to the form.    Go ahead.

         23      BY THE DEPONENT:

         24             Knock-and-talk, much like any kind of two

         25             words put together, like focused deterrence or



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          1             home visit, can be defined by whatever agency

          2             any way they want.    Sometimes you'll see this

          3             as to just talk to someone who's under some

          4             kind of supervision, or it can be something

          5             like knock on the door and ask if you're, you

          6             know, making meth out -- out back.      Would you

          7             like to talk to us about that.      Are you

          8             growing marijuana in your -- in your bedroom.

          9             So, you know, it's the point that there's

         10             different ways, given that the majority of

         11             crime occurs out of sight of the public or law

         12             enforcement, that there are lawful ways to try

         13             to gain information from individuals, and that

         14             might include knocking on the door and asking

         15             them.

         16      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         17      Q      So and I think my question was trying to get

         18             at is the paragraph beginning with the knock-

         19             and-talk sentence that we just reviewed, that

         20             has some studies in it, as you point out, from

         21             the National Institute for Justice -- of

         22             Justice; is that right?

         23      A      That -- that was certainly one of them, yes.

         24      Q      And then the studies that the National

         25             Institute of Justice -- or the National



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          1             Institute of Justice study mentioned in that

          2             paragraph refers, is a lot of the empirical

          3             evidences that you refer to at the bottom of

          4             the prior paragraph; is that right?

          5      A      That would be one of them.

          6      Q      That -- that's what I was getting at.       In that

          7             sentence where you say right after the first

          8             -- that is the second sentence of the -- of

          9             that last paragraph.    It says, "It is not

         10             uncommon in the wake of a consensual knock-

         11             and-talk encounter or someone to claim that an

         12             interaction with an officer was unwanted."

         13             And I guess my question is how do you know

         14             that this is not uncommon?

         15      A      Well, I've certainly encountered that

         16             anecdotally myself as a law enforcement

         17             officer, but certainly in 40 years of readings

         18             and trainings and education and teaching this,

         19             that's one of the various ways that we might

         20             encounter someone who would like to have

         21             something suppressed that went against their

         22             self-interests that perhaps occurred after the

         23             fact.

         24      Q      And because I don't really -- you know, I'm

         25             not trained in this.    Is there a -- is



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          1             consensual here a -- well, let me ask it this

          2             way.     When would an officer determine that a

          3             knock-and-talk is consensual?

          4      BY MR. POULTON:

          5             Object to the form.

          6      BY THE DEPONENT:

          7             The discretion that an officer utilizes to

          8             determine consent is certainly situational,

          9             and based on, you know, what the circumstances

         10             are you're actually seeking specific -- you

         11             know, and here we're getting into talking

         12             about potentially criminal matters and whether

         13             or not someone is providing any statements

         14             that are done consensually, or at least with

         15             no expectation of being provided a warning of

         16             constitutional rights before making some

         17             statement against self-interest.      So

         18             consensuality.     If you're driving by in your

         19             squad car and pull up next to me on the

         20             sidewalk and say can I ask you a question and

         21             I agree, that's consensual.

         22      DIRECT EXAMINATION RESUMED BY MR. HOUSE:

         23      Q      So when you say agree, you know, let's just

         24             say hypothetically the person says the words I

         25             agree.     In your mind that makes that encounter



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          1             consensual; is that right?

          2      A      I might just grunt and raise my chin at you.

          3             I might stare blankly at you.     I might adopt a

          4             disinterested view but not walk away.       I mean,

          5             that's -- it's almost literally limitless as

          6             far as -- as far as that goes, besides me

          7             going, you know, I don't wish to have the

          8             conversation and walk away from you.

          9      Q      Got it.   So it could take -- and just to get

         10             the testimony clear.    It could take any number

         11             of the forms -- let me rephrase that.       Consent

         12             could take any number of the forms that you

         13             just listed in that prior answer; is that

         14             right?

         15      A      Certainly that's -- that's a sampling of how

         16             it might be interpreted that someone consents

         17             to speak or listen.

         18      Q      Let's see.   On page 30 -- bottom of page 30 to

         19             31 there's a couple of bullet points.       It says

         20             -- it says, "From the study's survey," midway

         21             on page 30 and I just want to be clear.       We're

         22             talking -- when you say "this study" there

         23             you're talking about the National Institute of

         24             Justice study; is that right?

         25      A      I think that's right.    Let me scroll down 54.



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          1             "Evaluating the Impact of Probation and Parole

          2             Home Visits from 2019."

          3      Q      Oh, that's the study.     I'm sorry.   So -- and

          4             that's from Abt Associates; is that right?

          5      A      Abt Associates, yes.

          6      Q      What is Abt Associates?

          7      A      Well, Abt is a human being.     It is a

          8             consulting group that gets a variety of

          9             governmental grant work type things.      Maybe we

         10             can compare it to RAND, or maybe that's too

         11             grand to refer to RAND.     But it was a study

         12             done, as you see here, about evaluating home

         13             visits specifically done a couple of years

         14             ago.

         15      Q      And my understanding of that study is that it

         16             was reviewing home visits in the context of

         17             probation and parole; is that -- is that

         18             correct?

         19      A      That was the primary thrust of that

         20             evaluation, yes.

         21      Q      And looking on to page 34.     On page 34 at the

         22             top you say -- right before you start listing

         23             what I believe we established earlier were

         24             your opinions and conclusions you say, "Based

         25             on a reasonable degree of law enforcement and



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          1             criminal justice certainty, I find that," and

          2             then you list a number of things.      Do you see

          3             that?

          4      A      I do.

          5      Q      What is law enforcement certainty?

          6      A      The type of phraseology that every single

          7             federal report in this domain I've ever seen

          8             as listed there, as so mine over the last 30

          9             years.

         10      Q      Sure.    And what is it -- I'm not familiar with

         11             the term.     What does it mean?

         12      A      Okay, yeah.     That's interesting that you're

         13             not familiar with the term as this may be the

         14             first federal report for you, this is where

         15             typically it has an assurance or attestation

         16             to a court that this is based upon empirically

         17             as opposed to emotive advocacy, and looking at

         18             those things that I refer to in the very

         19             beginning of the report where it is looking,

         20             to the extent we can objectively look at

         21             something based on those empirical documents

         22             and what's actually trained, what's actually

         23             been accepted, what's actually not been

         24             contested under law and found to be unlawful,

         25             etcetera.     So the certainty with which my



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          1             evaluation, my assessment, my analysis of some

          2             matter under review is based on documentable

          3             objective information.

          4      Q      Sure.   And maybe -- maybe just to be clear,

          5             maybe I can ask it this way.     Is law

          6             enforcement certainty different from normal

          7             certainty?

          8      A      The -- whether it's term of art counselor in

          9             -- well, maybe you're not the one to answer if

         10             you've never seen this before.      Why every

         11             expert uses something that has the degree of

         12             certainty language in it is something I can

         13             let you and Mr. Poulton discuss.      I just know

         14             that that's in all reports and is meant to

         15             attest, as I said, to the court, that this

         16             isn't based on whim or my opinion, or I just

         17             thought this up or I feel or I believe or I

         18             think a certain way.     The same sort of thing.

         19             I would never allow students to put into

         20             research papers and just say I feel this is

         21             awful, I feel this is fantastic.      This is

         22             based on the documentations and information

         23             I'm able to review and look at.

         24      Q      Sure.   And how does law enforcement certainty

         25             differ from criminal justice certainty?



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          1      A      The broader inclusion then of correctional

          2             methodologies, theoretical methodologies.

          3      Q      And then moving on to page -- well, later on

          4             page 34 on finding number two.      You say --

          5             finding number two -- or I'll say opinion and

          6             conclusion number two.    Excuse me.    Well,

          7             should I call them findings, Professor Hough?

          8             Is that accurate?

          9      A      Opinion would probably be most appropriate.

         10      Q      We'll do opinion number two.     It says -- you

         11             stated that, "The Intelligence-Led Policing

         12             program of the Pasco Sheriff's Office is well

         13             conceived, staffed and operated pursuant to an

         14             agency-wide philosophy and manual.      Do you see

         15             that?

         16      A      I do.

         17      Q      How do you know that the program is well

         18             conceived?

         19      A      The thoroughness and comprehensiveness with

         20             which the manual is put together and things

         21             that's covered.

         22      Q      And when you say the program's operated

         23             pursuant to an agency-wide philosophy and

         24             manual, does the programs operation to which

         25             you are referring to include the prolific



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          1             offender text?

          2      A      It does.

          3      Q      Does it include making a list of prolific

          4             offenders?

          5      A      Somewhere within, again, the most recent,

          6             which I think was the 2018, or the other

          7             manuals as the program has evolved, I think

          8             included, as I recall, the part of the

          9             methodology.     But then earlier I also

         10             testified and referred to the three page

         11             document in regards to that.     So again, I'll

         12             defer to, at this moment today, what's in

         13             place there.

         14      Q      On finding number three on that page it says,

         15             "The Pasco Sheriff's Office appropriately

         16             utilized traditional approaches and innovative

         17             methods to influence offenders, potential

         18             offenders, and criminogenic conditions that

         19             the agency can impact."     Do you see that?

         20      A      I do.

         21      Q      So when you say that the PSO utilizes

         22             traditional approaches what are those

         23             traditional approaches?

         24      A      Very often just as simple as responding to

         25             calls for service, but then also the ways in



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          1             which law enforcement agencies may reach out

          2             to the community through public service

          3             announcements, press releases, the manner in

          4             which in addition to response to calls for

          5             service that officers instructed to patrol.

          6      Q      And then when you say innovative approaches,

          7             why are the innovative -- excuse me.      What are

          8             the innovative approaches that you are

          9             referring to?

         10      A      Initially the ones that I listed early in the

         11             report that we talked about this morning from

         12             -- from the agencies website.

         13      Q      Are there any other approaches besides -- and

         14             I'm talking about in general, not that the PSO

         15             uses.     But are there any other approaches

         16             besides either traditional or innovative

         17             approaches?

         18      A      Those two rubrics, traditional and innovative,

         19             are in no way meant to be exhaustive as the

         20             only two categories.     So without -- well, I

         21             don't really care if I sound like a broken

         22             record.     With 18,000 separate law enforcement

         23             agencies you -- you can't get a hundred agency

         24             administrators in a row and necessarily have

         25             them agree on its community oriented policing,



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          1             and this is something that many of us have

          2             struggled with and been well aware of for more

          3             than 30 years.    So sure, categories are what,

          4             you know -- well, you're not a chief of police

          5             or sheriff, but if you were, that you might

          6             want to come up with today.

          7      Q      Sure.   What are those -- what are some of

          8             those other categories of approaches?

          9      A      You know, as I said, that's -- that's -- you

         10             know, I'm not a sheriff or a chief at the

         11             moment either.    So 18,000 agencies and what

         12             those might be.    If I sitting here with a

         13             migraine come up with three of them that's --

         14             that's not going to be -- I know, we're back

         15             to where you think I'm trying to defend or not

         16             versus what I know my job is.

         17      Q      Well, can you -- can you just, I guess, just

         18             the -- is there another category that's

         19             missing here or that exists in the world that

         20             you can name besides traditional innovative?

         21      A      Well, I appreciate you asking the same

         22             question in a somewhat different way, and I

         23             just say those two that you named, traditional

         24             and innovative out of, you know, plucking some

         25             things here, would not be an exhaustive list,



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          1            and that may not even be the right language.

          2            So there are methods.     (Inaudible) foot

          3            patrol.   You could be doing foot patrol.       You

          4            could be doing airplane (inaudible).       You may

          5            be in a suburban environment and (inaudible)

          6            walking patrol (inaudible).      So, you know, and

          7            then we get caught up in (inaudible).        And as

          8            I (inaudible) community policing which would

          9            be partnering with all those who you can with

         10            or be partnered with (inaudible) to try to do

         11            (inaudible) or agents administrators or

         12            (inaudible) in some county or city.       So it's

         13            like trying to claim that there's (inaudible)

         14            level of deterrence.     (Inaudible), you know,

         15            there's four and here's (inaudible).       We

         16            talked about the term innovative earlier today

         17            and, you know, my (inaudible) ---

         18      BY MR. POULTON:

         19            You broke -- he froze on me.

         20      BY MR. HOUSE:

         21            Yeah, he was breaking up the whole time on

         22            that answer.    And there's no -- there's no

         23            video anymore as well.

         24      (OFF THE RECORD)

         25      DIRECT EXAMINATION RESUMED BY MR. HOUSE:



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          1      Q      So we were at -- I think I asked you about

          2             approaches.     Let's go back to that same

          3             sentence in finding number three.      Let's see

          4             here.   When you use the term "potential

          5             offenders" ---

          6      A      Yes, sir.

          7      Q      What do you mean by that?

          8      A      Nothing more than someone who may offend or

          9             re-offend.

         10      Q      What do you mean by criminogenic conditions?

         11      A      Those can be anything from environment of the

         12             neighborhood where someone lives or works or

         13             goes to school or hangs out to conditions

         14             within the home in terms of the actual social

         15             interactions with -- social interactions with

         16             relevant others, peers, whether those are

         17             students or perhaps just friends or

         18             acquaintances.     So it covers, you know, both

         19             the social world of the individual as well as

         20             the physical.

         21      Q      And then on number five you say that, "STAR

         22             Teams' actions in this case were objectively

         23             reasonable and appropriate and in accordance

         24             with Constitutional guidance, state law, case

         25             law policy, training and law enforcement



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          1             practices."    Do you see that?

          2      A      Yes.

          3      Q      What makes an action objectively reasonable?

          4      A      Those that in context of law enforcement would

          5             be ones that the majority of (inaudible)

          6             following the same type of behavior.

          7      Q      And then what makes an action by a deputy

          8             appropriate?

          9      A      Appropriate in this context would refer to

         10             doing that which not only is objectively

         11             reasonable but is according to training and

         12             what the guidance of an agency through policy,

         13             procedures, training would be.      So appropriate

         14             in that sense.

         15      Q      And what makes a deputy's actions in

         16             accordance with Constitutional guidance?

         17      A      Well, we're aware that -- again, without

         18             stepping on the toes of the court or a trier

         19             of fact, that the laws in each state must

         20             follow the Constitution and that agency policy

         21             cannot ignore or violate Constitutional

         22             specific called out mandates or that from case

         23             law.   So that -- that's an ongoing assessment

         24             of agency policy.

         25      Q      And so your opinion here in number five is



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          1             that the actions by deputies did not violate

          2             Constitutional case law; is that accurate?

          3      A      Well, as I said, without -- since I'm not in a

          4             position to make legal pronouncements, but

          5             what we do both in teaching in the university

          6             classroom, as well as training in the academy

          7             classroom has to do very much with making

          8             officers and students aware of certain

          9             Constitutional requirements or conditions and

         10             admonishing them the agencies can't create

         11             policy that would be in violation of those

         12             Constitutional standards.

         13      Q      On page -- the next page 35.     Finding number

         14             six says, "Plaintiff asserts that any

         15             reference to the term," quote, 'focused

         16             deterrence'", end quote, "or Plaintiff's

         17             expert's writings equates to a wholesale

         18             adoption of the exact approach used initially

         19             30 years prior by Plaintiff's expert."       Do you

         20             see that?

         21      A      I do.

         22      Q      Now, when you say "Plaintiff describes" and

         23             "Plaintiff asserts" in that finding, because I

         24             think it says -- excuse me.     So the part that

         25             I read said "Plaintiff asserts."      But earlier



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          1             on in that same finding I think it says

          2             "Plaintiff describes."      Do you mean

          3             Plaintiff's expert witness asserts?

          4      A      Yes.   Professor Kennedy.

          5      Q      And then are you -- again, as you sit here

          6             today can you recall where in Professor

          7             Kennedy's report that asserted that a

          8             reference to the term focused deterrence

          9             equates to a wholesale adoption of the exact

         10             approach initially 30 years prior by him?

         11      A      Well, since that's my sentence and not

         12             Professor Kennedy's sentence, this is part of

         13             the summation on my part of how I read his

         14             report to the extent that if it's not his

         15             brand of focused deterrence then the PSO

         16             should not utilize that term.

         17      Q      And there's just -- just for the record,

         18             there's no citation to Professor Kennedy's

         19             report in that finding, is there?

         20      A      Yes, in six.

         21      Q      Oh, there is?    Is finding six where's the

         22             citation to Professor Kennedy's report?

         23      A      Plaintiff's expert's writings.

         24      Q      Oh, excuse me.    I'm sorry.    So what I mean is

         25             a citation to a page in his report.



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          1      A      Oh, a specific page?    Well, obviously neither

          2             you nor I see one there.     But let's be clear

          3             that's what I'm referring to.

          4      Q      You're referring to his report; right?

          5      A      I am.

          6      Q      Page seven -- or, excuse me, finding seven on

          7             the -- I guess it's sort of the next page.        We

          8             were straddling pages before.     It says,

          9             "Neither the ILP manual nor written policies

         10             direct deputies on how to conduct a prolific

         11             offender check."   Do you see that?

         12      A      I do.

         13      Q      So based on your review of the documents does

         14             that -- does that -- does that mean that the

         15             PSO deputies were operating outside of the PSO

         16             policy when they conducted the prolific

         17             offender checks?

         18      A      No, I certainly didn't say that.      My

         19             independent recollection as I, you know, wrote

         20             this there's -- as would be typical in a

         21             manual or policy, there's not necessarily a

         22             step-by-step job task analysis.

         23      Q      And when you say typical you mean policies do

         24             not normally contain those step-by-step

         25             analysis; is that right?



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          1      A      For a policy, that's correct.

          2      Q      But if I understand your testimony that

          3             doesn't mean that the PSOs were operating

          4             outside of the policy when they performed the

          5             checks even if there wasn't a step-by-step on

          6             how to perform the checks; is that right?

          7      A      No, that's not what I was saying.

          8      Q      So let me -- I'll just reask it to be clear

          9             because I thought -- so I asked if you

         10             contended that PSO deputies were operating

         11             outside of the policy and I believe your

         12             testimony was no, that's not what you were

         13             contending.     And so my question is -- or was

         14             -- well, your answer then said that it was

         15             typical for policies not to have step-by-step

         16             instructions.     Is that accurate?

         17      A      That's true.

         18      Q      So my question to you is that even though the

         19             PSO deputies did not have step-by-step

         20             instructions on how to perform those checks,

         21             it doesn't mean that they were operating

         22             outside of a policy when they did that; is

         23             that right?

         24      A      Well, I think that's right because I don't

         25             know what of thousands of actions we're



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          1             talking about.

          2      Q      Sure.     And I'm just talking about performing

          3             the checks at large, not any individual

          4             instance of a check.     So assuming that, is it

          5             true that, again, just because there aren't

          6             step-by-step instructions in the policy they

          7             might still be acting within that policy?

          8      BY MR. POULTON:

          9             Object to the form.

         10      BY THE DEPONENT:

         11             My understanding of the manual and the policy

         12             is that offender checks -- prolific offender

         13             checks is a component of the program.

         14      BY MR. HOUSE:

         15             Well, we're at 1:45, Tom, so ---

         16      BY MR. POULTON:

         17             Yes.

         18      BY MR. HOUSE:

         19             I mean, I don't have -- I don't have much more

         20             of a ---

         21      BY MR. POULTON:

         22             I mean, I can't.     I'm sorry.   I wish I

         23             could ---

         24      BY MR. HOUSE:

         25             I know.     I know it's ---



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          1      BY MR. POULTON:

          2            I wish we could, but I got to go.

          3      BY MR. HOUSE:

          4            We'll wrap this up on Wednesday at 11:30.

          5      (PLAINTIFF'S EXHIBITS A, B, C, D, E MARKED)

          6      (PROCEEDINGS IN THE ABOVE-ENTITLED MATTER WERE

          7      ADJOURNED AT APPROXIMATELY 1:46 P.M.)

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                                        CERTIFICATE


                       I, Mai-Beth Ketch, CVR-M, CCR, Court Reporter

                 and Notary Public, do hereby certify that the

                 foregoing 160 pages are an accurate transcript of

                 the deposition of Dr. Richard M. Hough, Sr., taken

                 by me and transcribed under my supervision.

                       I further certify that I am not financially

                 interested in the outcome of this action, a

                 relative, employee, attorney or counsel of any of

                 the parties, nor am I a relative or employee of

                 such attorney or counsel.

                       This is the 5th day of May, 2022.



                            _______________________________

                            MAI-BETH KETCH, CVR-M, CCR

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